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                     1   MORGAN LEWIS & BOCKIUS LLP
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                         Amazon Logistics, Inc.
                     6

                     7

                     8                                   UNITED STATES BANKRUPTCY COURT
                     9                                    CENTRAL DISTRICT OF CALIFORNIA
                    10                                              LOS ANGELES DIVISION
                    11

                    12   In re:                                                         Case No. 2:19-bk-14989-WB
                                                                                        Jointly Administered:
                    13              SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                  Chapter 11
                                             Debtors and Debtors in
                    15                       Possession.         AMAZON LOGISTICS, INC.’S
                                                                 OBJECTION TO ASSUMPTION AND
                    16   _______________________________________ ASSIGNMENT OF DELIVERY
                                                                 PROVIDER TERMS OF SERVICE
                    17   Affects:                                WORK ORDER; AND DECLARATIONS
                         ■ All Debtors                           OF VANESSA DELANY AND ZANE
                    18   □ Scoobeez, ONLY                        BROWN IN SUPPORT THEREOF
                         □ Scoobeez Global, Inc., ONLY
                    19   □ Scoobur LLC, ONLY                     Date:    October 17, 2019
                                                                 Time:    10:00 a.m.
                    20                                           Dept.:   United States Bankruptcy Court
                                                                          Edward Roybal Federal Building
                    21                                                    Courtroom 1375
                                                                          255 E Temple St
                    22                                                    Los Angeles CA 90012

                    23                                                                  Judge: The Hon. Julia W. Brand

                    24

                    25              Amazon Logistics, Inc. (“Amazon”) hereby objects to the Debtors’ request to assume and

                    26   assign their rights, if any, under the Delivery Provider Terms of Service – Work Order that was

                    27   1
                             The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                               Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28         Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
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                     1   effective as of September 2, 2015 by and between Amazon and Scoobeez, Inc. (“Scoobeez”) as

                     2   follows:

                     3                                                      I.
                                                                      INTRODUCTION
                     4

                     5            The contract at issue in this proceeding is composed of two parts: (a) the Delivery

                     6   Provider Terms of Service (the “Terms”) and (b) the Delivery Provider Terms of Service – Work

                     7   Order, which incorporates the Terms. Schedules B and C to the Work Order specify the locations

                     8   from which the Debtors received goods for shipment from Amazon and the fees payable by

                     9   Amazon from each of those distribution points. Those Schedules have been amended 18 times
                    10   since the Work Order was originally signed. The Work Order (as amended) and the Terms are

                    11   collectively referred to herein as the “Agreement.” 2 In summary, the Agreement provides that, to

                    12   the extent, if any, that Amazon desires to utilize Scoobeez’s delivery services, and to the extent

                    13   that Scoobeez desires to perform those services, the services will be rendered pursuant to the

                    14   terms and conditions of the Agreement.

                    15            The Debtors may not assume or assign the Agreement pursuant to Bankruptcy Code

                    16   section 365 for three independent reasons. First, the Agreement is not an executory contract

                    17   because Amazon is not required to utilize Scoobeez’s services and, thus, has no material

                    18   executory obligations. Second, the Debtors have not cured, or provided adequate assurances that

                    19   they will cure, their existing defaults under the Agreement. Third, the Debtors have not, and
                    20   cannot, provide adequate assurances of future performance under the Agreement as the currently

                    21   proposed purchase agreement explicitly permits the stalking horse bidder, Hillair Capital

                    22   Advisors LLC, to assign its rights under the proposed Asset Purchase Agreement to an

                    23   unidentified third party.

                    24                                          II.
                                           THE AGREEMENT IS NOT AN EXECUTORY CONTRACT
                    25

                    26            It is well established that, in order for a contract to be treated as an executory contract,

                    27
                         2
                              Copies of the Delivery Provider Terms of Service – Work Order, the Deliver Provider Terms of Service, and the
                    28        eighteen amendments thereto are attached hereto as Exhibit 1 through 20, respectively.
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                     1   “the obligations of both the bankrupt and the other party [must be] so far unperformed that the

                     2   failure of either to complete performance would constitute a material breach excusing the

                     3   performance of the other.” In re THC Financial Corp., 688 F.2d 799, 804 (9th Cir. 1982),

                     4   quoting Fenix Cattle Co. v. Silver (In re Select-A-Seat Corp.), 625 F.2d 290, 292 (9th Cir. 1980),

                     5   quoting V. Countryman, Executory Contract in Bankruptcy: Part I, 57 Minn.L.Rev. 439, 460

                     6   (1973).

                     7             Here, the Agreement is clear that Amazon is under no obligation to request services from

                     8   Scoobeez. Thus, Amazon did not have any unperformed obligations the breach of which would

                     9   have excused performance by Scoobeez.
                    10                     At Amazon’s request and as specified in one or more work orders
                                           that become binding upon you (whether by executing the same or
                    11                     otherwise agreeing to the applicable terms, including pursuant to the
                                           functionality of the Site) (“Work Orders”), you will provide
                    12                     transportation, delivery and related services … in accordance with
                                           the terms and conditions of these Terms, the Program Policies, and
                    13                     any performance standards set forth in each applicable work order.
                    14   Terms at ¶ 1(a).

                    15                     You acknowledge and agree that Amazon makes no promises or
                                           representations whatsoever as to the amount of business that you can
                    16                     expect at any time under these Terms, whether before or after any
                                           Work Order becomes binding on you.
                    17

                    18   Terms at ¶ 1(c).

                    19   Because Amazon is under no obligation to utilize Scoobeez’s services, Amazon has no material
                    20   unperformed obligations under the Agreement. As a result, the Agreement is not an executory

                    21   contract that the Debtors can assume and assign to a third party.

                    22                                       III.
                                                 THE DEBTORS HAVE NOT CURED,
                    23              OR PROVIDED ADEQUATE ASSURANCES THAT THEY WILL CURE,
                                         THE EXISTING DEFAULTS UNDER THE AGREEMENT
                    24

                    25             Bankruptcy Code section 365(b)(1)(A) is clear that, in order to assume an executory

                    26   contract, the trustee (or, as in this case, the debtor in possession) must cure or provide adequate

                    27   assurances that the trustee will promptly cure any default under the contract to be assumed. In

                    28   this case, the Terms required Scoobeez to defend and indemnify Amazon and its affiliates against
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                     1   third party claims that Scoobeez or any of its personnel failed to comply with applicable law.3

                     2   Amazon and its affiliate, Amazon.com, Inc., have been made parties to three lawsuits in which

                     3   the plaintiffs allege that Scoobeez violated various labor laws and that each of Amazon and

                     4   Amazon.com, Inc. are liable, along with Scoobeez, for those violations.4 To date, Scoobeez is in

                     5   breach of its indemnity obligations in that it has not provided Amazon, or Amazon.com, Inc.,

                     6   with a defense in any of these matters and has not indemnified them against the claims asserted in

                     7   those cases.5 As a result, on September 6, 2019, Amazon.com, Inc. and Amazon filed proofs of

                     8   claim (Claim Nos. 31 and 32, respectively) based upon the foregoing breaches. The Debtors do

                     9   not propose to cure the foregoing breaches and, therefore, they may not assume or assign the
                    10   Agreement.6

                    11                                   IV.
                             THE DEBTORS HAVE NOT PROVIDED ADEQUATE ASSURANCE OF FUTURE
                    12                     PERFORMANCE OF THE AGREEMENT
                    13            In order to assume or assign an executory contract, Bankruptcy Code section 365(b)(1)(C)

                    14   requires that the trustee provide the contract counterparty with “adequate assurance of future

                    15   performance.” 11 U.S.C. § 365(b)(1)(C). Here, the Debtors have failed to do so for three

                    16   reasons.

                    17            First, the stalking horse bidder, Hillair Capital Management, LLC, (“Hillair”) is the

                    18

                    19
                         3
                    20        Terms at ¶ 9(a)(iv) (“You [Scoobeez] will defend, indemnify and hold harmless Amazon and its Affiliates …
                              From any third-party allegation or claim … arising out of or in connection with, … (iv) any allegation or claim
                    21        that you or any of your Personnell filed to comply with applicable Law.”).
                         4
                              Declaration of Vanessa Delany attached hereto (the “Delany Decl.”), ¶ 4..
                    22   5
                              Delany Decl., ¶ 5. See also, Proofs of claim Nos. 31 and 32. Pursuant to the provisions of Federal Rule of
                    23        Evidence 201, the Court is requested to take judicial notice of the content of the foregoing proofs of claim.
                         6
                              Exhibit A to the Debtors’ Notice of Potential Assumption and Assignment of Executory Contracts and
                    24        Unexpired Leases in Connection with Sale (Docket No. 336) states a $0.00 cure amount for the Agreement.
                              Although the Contract Assumption and Assignment Procedures state that any objection to the assumption and
                    25        assignment of the Debtors’ contract should state the amount needed to cure any default under the contract,
                              Amazon has not done so in this objection as the cure amount is: (a) constantly increasing as Amazon and
                    26        Amazon.com, Inc. incur additional defense costs and (b) the amount necessary to indemnify Amazon and
                              Amazon.com, Inc. against the claims asserted against them is unliquidated as each of Amazon and
                    27        Amazon.com, Inc. deny that they are liable as alleged and the amounts sought by the plaintiffs have not been
                              definitively stated. Amazon will be prepared to state the amount necessary to cure the Debtor’s liquidated
                    28        defaults at the sale hearing, should that become necessary.
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                     1   Debtors’ secured lender.7 There is nothing in the record to indicate that Hillair is an experienced

                     2   delivery services operator. Thus, it does not appear that Hillair can adequately assure the future

                     3   performance of Scoobeez’s obligations under the Agreement.

                     4            Second, the proposed Asset Purchase Agreement between the Debtors and Hillair

                     5   pursuant to which the Agreement is to be transferred (the “APA”) appears to contemplate that,

                     6   between the date that this Court approves the APA and the date that the transactions contemplated

                     7   by the APA close, Hillair will assign its interest in the APA to an as yet undisclosed third party.

                     8                     No assignment of this Agreement or of any rights or obligations
                                           hereunder may be made by either Sellers, on the one hand, or Buyer,
                     9                     on the other hand, (by operation of law or otherwise) without the
                                           prior written consent of the other Parties hereto and any attempted
                    10                     assignment without the required consents shall be void; provided
                                           however, that Buyer intends to (and may, without the consent of
                    11                     Sellers) assign its rights, interests, and obligations hereunder to
                                           one or more of its assignees or designees.
                    12

                    13   APA, § 12.8 (page 55 of 83 of Docket No. 318), bold and italics added. Because neither Amazon

                    14   nor this Court knows the identity of the party who will actually acquire the Debtors’ assets,

                    15   including the Debtors’ rights under the Agreement, this Court cannot possibly conclude that the

                    16   as yet unknown party can provide adequate assurances of its future performance under the

                    17   Agreement. Amazon reserves its right to supplement this objection when, and if, Hillair’s third-

                    18   party assignee is identified.

                    19            Finally, as the bidding procedures contemplate, it is possible that a third-party bidder may
                    20   emerge from the sale procedures as the successful bidder. Pursuant to the bidding procedures

                    21   approved by this Court, assuming that there are any Qualified Bidders (as defined in the bidding

                    22   procedures), an auction will be held on October 14, 2019 and the Debtors will “file a statement

                    23   with the Court identifying the Winning Bidder and serve notice of the Winning Bidder’s identity

                    24   on all parties that received notice of the Sale Procedures.” Bidding Procedures at p. 7. The

                    25   Debtors will then present the Winning Bid to the Court at the Sale Hearing, on October 17, 2019.

                    26   Bidding Procedures at p. 8.

                    27
                         7
                              See, Hillair Capital Management’s Opposition to Debtors’ Emergency Motion for Entry of Interim Order
                    28        Authorizing Use of Cash Collateral on an Interim Basis (Docket No. 16).
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                     1            According to the Contract Assumption and Assignment Procedures approved by this

                     2   Court, the Debtors are required to provide notice to the counterparty to their executory contracts

                     3   of their intention to assume and assign the contract at least twenty-one days in advance of the Sale

                     4   Hearing, or on or before September 20, 2019.8 Objections to the proposed assumption and

                     5   assignment of the Debtors’ executory contracts are due on or before October 1, 2019.9 If Hillair

                     6   is not determined to be the Winning Bidder at the October 14, 2019 auction, counterparties to the

                     7   Debtor’s executory contracts are to be immediately notified of the identity of the Winning Bidder

                     8   and may file objections to the Winning Bidder’s ability to provide adequate assurances of future

                     9   performance on or before October 16, 2019, two days later.10 Amazon reserves its right to object
                    10   to the Winning Bidder’s ability to provide adequate assurances of future performance, including

                    11   its right to assert that the two days’ notice of the identity of the Winning Bidder deprives Amazon

                    12   of its right to due process with respect to the Court’s determination of that issue.

                    13                                                      V.
                                                                        CONCLUSION
                    14

                    15            The Debtors are not entitled to assume or assign the Agreement as: (a) it is not an

                    16   executory contract, (b) they have not cured, or provided adequate assurances that they will cure,

                    17   the existing defaults under the Agreement and (c) they have not provided adequate assurances

                    18   that their proposed assignee (whose identity appears to remain undisclosed) can perform its

                    19   obligations under the Agreement. Moreover, the Debtors’ attempt to assign the Agreement
                    20   without Amazon’s consent is a fruitless endeavor. As noted above, Amazon is under no

                    21   obligation to make use of the Debtors’ services, or those of any assignee, if the Agreement is

                    22   assumed and assigned to a third party. Further, even if the Agreement could somehow be read as

                    23   obligating Amazon to utilize the Debtors’ services, which it cannot, the Agreement is, by its

                    24   terms, terminable by Amazon (and by Scoobeez), with or without cause, on 30 days’ notice.

                    25
                         8
                              Order (I) Approving Bidding Procedures for Sale of Assets; (II) Approving the Expense Reimbursement; (III)
                    26        Approving the Process for Notifying Non-Debtor Contract Counterparties of Assumption and Assignment of
                              Contracts; and (IV) Granting Related Relief (Docket No. 321), ¶ 14.
                    27   9
                              Id,, ¶ 15.
                    28   10
                              Contract Assumption and Assignment Procedures, p. 2.
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                     1   Terms at ¶ 8(a). For the foregoing reasons, the Court should deny the Debtors’ request to assume

                     2   or assign the Agreement.

                     3   Dated: October 1, 2019                           MORGAN, LEWIS & BOCKIUS LLP
                     4

                     5                                                    By:   /s/ Richard W. Esterkin
                                                                                    Richard W. Esterkin
                     6                                                    Attorneys for Amazon Logistics, Inc.
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                     1                              DECLARATION OF VANESSA DELANEY

                     2            I, Vanessa Delaney, declare:

                     3            1.       I am employed by Amazon Logistics, Inc. as a Contractor Relations Principal. As

                     4   a result, I am familiar with the contractual relationship between Amazon Logistics, Inc.

                     5   (“Amazon”) and Scoobeez, Inc. (“Scoobeez”).

                     6            2.       The contractual relationship between Amazon and Scoobeez is documented in two

                     7   agreements: a Delivery Provider Terms of Service Work Order (the “Work Order”) and a

                     8   Delivery Service Provider Terms of Service, which is incorporated into the Work Order, (the

                     9   “Terms”). Copies of the Work Order and Terms are attached hereto as Exhibits 1 and 2,
                    10   respectively.

                    11            3.       The distribution points from which Scoobeez is to receive materials from Amazon

                    12   for delivery are set forth in Schedule B to the Work Order. The fees payable to Scoobeez for its

                    13   delivery services from the various distribution points are set forth in Exhibit C to the Work Order.

                    14   Over time, both the distribution points and the fees varied. As a result, there are 18 amendments

                    15   to the Work Order that document those changes. Attached hereto as Exhibits 3 through 20 are

                    16   copies of the foregoing amendments.

                    17            4.       As of September 6, 2019, Amazon and Amazon.com, Inc. had been named as

                    18   defendants in at least three lawsuits in which the plaintiffs contended that Scoobeez had violated

                    19   various labor laws and that each of Amazon and Amazon.com, Inc. were liable to them as “co-
                    20   employers” with Scoobeez:

                    21                     (a)    Jassim Addal v. Amazon.com, Inc., et al., Los Angeles County Superior

                    22                            Court Case No. BC719783;

                    23                     (b)    Unta Key, et al. v. Scoobeez, et al., San Diego County Superior Court Case

                    24                            No. 37-2017-00018285, consolidated with Case No. 37-2017-0039527; and

                    25                     (c)    Bennie Hamilton v. Scoobeez, Inc., et al., Los Angeles County Superior

                    26                            Court Case No. BC669835.

                    27            5.       To date, Scoobeez has not provided Amazon or Amazon.com, Inc. with a defense

                    28   in the foregoing litigation or indemnified them with respect to the plaintiffs’ claims. To date,
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                       1   Amazon and Amazon.com, Inc. have incurred defense costs in connection with the foregoing

                       2   litigation and have not been reimbursed by Scoobeez for those costs.

                       3          I declare under penalty of perjury that the foregoing is true and correct and that this
                                                       Hoboken
                       4   declaration was executed at _______________, New Jersey on September 30
                                                                                                __, 2019.

                       5
                                                                                 _____________________________
                       6                                                         Vanessa Delaney
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                       1                                DECLARATION OF ZANE BROWN
                       2          I, Zane Brown, declare:

                       3          1.      I am employed by Amazon.com Services, Inc. as a Vice President. I have access

                       4   to the corporate records of Amazon.com, Inc. and its affiliated entities and have my office at

                       5   Amazon’s corporate headquarters in Seattle Washington. As a result, I am familiar with the

                       6   corporate relationship between Amazon Logistics, Inc. and Amazon.com, Inc.

                       7          2.      Amazon Logistics, Inc. is a wholly owned subsidiary of Amazon.com, Inc.

                       8          I declare under penalty of perjury that the foregoing is true and correct and that this
                                                                                           27
                       9   declaration was executed at Seattle, Washington on September __, 2019.

                      10
                                                                                   _____________________________
                      11                                                           Zane Brown
                      12

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                           EXHIBIT 1

                             Exhibit 1 - page 11
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                                             Delivery Provider Terms of Service

                                                             Work Order

            This Work Order (this “Work Order”) is effective as of September 2, 2015 (“Work Order
            Agreement Date”), and is made a part of the Delivery Provider Terms of Service (as the same
            may be amended, modified or supplemented from time to time, the “Terms”) between Amazon
            Logistics, Inc. (“Amazon”), and Scoobeez, Inc., a California corporation (“you”). By accepting
            this Work Order, you (a) agree to be bound by all terms and conditions of this Work Order, and
            (b) represent and warrant that you have legal authority to enter into and perform your obligations
            under this Work Order. This Work Order incorporates the terms and conditions of each
            Schedule attached to this Work Order (including the policies set forth on Schedule A to this
            Work Order (the “Policies”)). Please see the Terms for definitions of certain capitalized terms
            used in this Work Order.

            1.      Services. Services under this Work Order will commence on the Work Order Agreement
            Date, and this Work Order will be subject to the same termination rights set forth in the Terms.
            Deliverables may be tendered by Amazon or its designees from delivery stations, sort centers,
            fulfillment centers, and/or other distribution points (including merchant locations) (collectively,
            the “Distribution Points”) and accepted by you Monday through Sunday, 365 days a year, at
            times and days designated by Amazon. The initial Distribution Points at which Deliverables will
            be tendered are set forth on Schedule B to this Work Order. Amazon and you may from time to
            time and at any time update the Distribution Points set forth on Schedule B to this Work Order.
            Deliveries of Deliverables are to be made on the same day they are tendered to you and within
            the delivery time window specified by Amazon. You will perform the Services in accordance
            with the Policies and with any standard operating procedures (including those relating to check-
            in and loading of Deliverables at Distribution Points and the delivery of Deliverables to Amazon
            customers) that are agreed between Amazon and you from time to time.

            2.     Service Areas. Deliverables will be delivered within the geographic areas serviced by
            the Distribution Points set forth on Schedule B to this Work Order, as updated from time to time
            by Amazon and you.

            3.     Fees Payable by Amazon. The Fees for Services set forth on Schedule C to this Work
            Order are the rates and charges to be charged to and paid by Amazon in consideration of the
            Services furnished by you.

            4.      Insurance. You will, at all times during which you provide the Services and for at least
            two years after all Services are completed, carry, at your expense: (a) “Commercial General
            Liability” insurance with limits of not less than $1,000,000 per occurrence and $2,000,000 in the
            general aggregate (or such other amounts approved by Amazon in writing); (b) “Business
            Automobile Liability” insurance (also known as ‘motor fleet’ insurance) with limits of not less
            than $1,000,000 per occurrence for bodily injury and property damage combined (or such other
            amount approved by Amazon in writing); (c) “Worker’s Compensation” insurance, including but
            not limited to coverage for all costs, benefits and liabilities under workers’ compensation and
            similar Laws that may accrue in favor of any person employed by you in all states where you
            perform Services, and “Employer’s Liability” insurance with a limit of not less than $1,000,000




                                                    Exhibit 1 - page 12
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            (or such other amount approved by Amazon in writing); and (d) “Cargo Legal Liability”
            insurance, or similar coverage, with limits sufficient to cover your liability under Section 6
            (Claims for Loss or Damage) of the Terms, but in no event less than $25,000 per loss (or such
            other amount approved by Amazon in writing). You may satisfy the foregoing minimum limits
            by any combination of primary liability and umbrella excess liability coverage that results in the
            same protection to you and Amazon insured parties. You may self-insure for workers’
            compensation where allowed by applicable Law. Each of your insurance policies must: (u) be
            issued by companies with a rating of A-/VII or better in the current Best’s Insurance Reports
            published by A.M. Best Company, Inc.; (v) provide that the coverage limits will not be reduced
            below the minimum amounts required by this paragraph and such policy will not be canceled or
            allowed to expire without at least 30 days’ prior written notice from the insurance carrier to
            Amazon; (w) for (a) and (b) above, name Amazon and its Affiliates, and their respective officers,
            directors, employees, successors, assigns, licensees, distributors, contractors and agents as
            additional insureds with the standard separation of insureds provision or an endorsement for
            cross-liability coverage; (x) provide coverage on an occurrence basis; (y) waive any insurer right
            of subrogation against Amazon and its Affiliates and their respective officers, directors,
            employees, successors, assigns, licensees, distributors, contractors and agents, where allowed by
            applicable Law; and (z) provide primary coverage, without any right of contribution from any
            other insurance that Amazon or any of its Affiliates may have.

            5.     Audit Rights. Upon 72 hours’ advance written notice to you, Amazon may, during
            normal business hours and at the expense of Amazon, review your records relating to the Terms,
            the Program Policies, this Work Order or your performance of the Services under this Work
            Order. Upon 24 hours’ advance written notice to you, Amazon may, during normal business
            hours and at the expense of Amazon, perform an on-site visit of your delivery operations or
            conduct “ride-along” observations of your Personnel performing the Services (each, a “Ride-
            Along Observation”); provided, that, without your consent, (a) during the first week of providing
            the Services under this Work Order, Amazon will conduct no more than one Ride-Along
            Observation per day, and (b) after the first week of providing the Services under this Work
            Order, Amazon will conduct no more than four Ride-Along Observations per month. If any
            review establishes that there has been any noncompliance by you or overpayment by Amazon,
            you will promptly cure the non-compliance and/or refund the overpayment, as applicable, and
            will bear all expenses in connection with the review, all without limiting any other rights or
            remedies that may be available to Amazon. Also, upon 24 hours’ advance written notice,
            Amazon may, during normal business hours and at the expense of Amazon, inspect any of the
            processes, procedures, or systems related to your delivery operations.

            6.     Personnel Performing Services. You agree that you and all of your Personnel that
            perform the Services will satisfy the criteria set forth in the Policies and on Schedule F to this
            Work Order.

            7.     Notices to Amazon. Notices to Amazon under this Work Order or the Terms may be
            provided by (a) facsimile transmission to 206-266-2009, or (B) nationally recognized overnight
            courier service, certified mail (return receipt requested), or personal delivery to Amazon
            Logistics, Inc., 410 Terry Avenue North, Seattle, WA 98109-5210, Attention: General Counsel.

                                                    [Signature Page Follows]




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                           IN WITNESS WHEREOF, properly authorized representatives of the undersigned
            have executed this Work Order.

             Amazon Logistics, Inc.                                Scoobeez, Inc.


             By:                                                   By:
                        Hany Elkordy                                          Benjamin Art
             Name:                                                 Name:
                        Director, AMZL NA                                     CEO
             Title:                                                Title:
                               August 18, 2015                                      August 17, 2015
             Date Signed: _________________________                Date Signed: _________________________




                                                   [Signature Page to Work Order]



                                                    Exhibit 1 - page 14
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                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers,
            cyclists, walkers, and other Personnel who are assigned by you to perform the Services under
            this Work Order, and (b) you will not engage subcontractors to perform the Services without the
            prior                 written               consent                 of                Amazon.




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                                                             Schedule B

                                                       Distribution Points

                1. UCA3 – Los Angeles, CA

                2. UCA4 – Irvine, CA

                3. UCA5 – Los Angeles, CA




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                                                             Schedule C

                                                   Fees Payable by Amazon

            Prime Now

            Distribution       Duration of           Fees for Services    Uniform and     Total (per
            Point              Planned Route         (per Planned         Vehicle Brand   Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
            UCA3, UCA4,        4.5 hours             $81.00               $5.00           $86.00
            and UCA5           6.5 hours             $124.00              $5.00           $129.00
                               8.5 hours             $167.00              $5.00           $172.00
                               10.5 hours            $210.00              $5.00           $215.00

            For a period of three weeks commencing on the date on which you perform your first Planned
            Route under this Work Order, you will be permitted to engage independent contractors to
            perform the Services. Thereafter, unless you obtain prior written consent from Amazon to the
            contrary, you will hire and employ all drivers, cyclists, walkers, and other Personnel who are
            assigned by you to perform the Services under this Work Order. Notwithstanding the existence
            or terms of any subcontract, you will remain responsible for the full performance of the Services
            in accordance with the Terms and this Work Order. The terms and conditions of this Work
            Order and the Terms are binding upon you, your Affiliates and your and their respective
            Personnel. You will (a) ensure that such entities and individuals comply with this Work Order
            and the Terms, and (b) be responsible for all acts, omissions, negligence and misconduct of such
            entities and individuals. You will also ensure that all of your independent contractors effectively
            and irrevocably waive any lien upon (or other right with respect to) the Deliverables transported,
            regardless of whether such independent contractor would otherwise be entitled to such lien or
            other rights under contract or applicable Law, and waive any claim (including for amounts owed
            for delivery services) against Amazon, its Affiliates and any recipient. Without in any way
            limiting your obligations or Amazon’s rights under Section 9 (Indemnification) of the Terms, if
            any of your independent contractors asserts any claim, demand, suit, or action (an “IC Claim”)
            against Amazon or any of its Affiliates and you are then undergoing any bankruptcy proceeding,
            then Amazon may at its sole discretion, but is not obligated to, defend or settle such IC Claim at
            your cost and expense; provided, that, for the avoidance of doubt, if Amazon incurs or pays any
            loss, damage, settlement, cost, expense or any other liability (including reasonable attorneys’
            fees) relating to such IC Claim, Amazon may set off such amounts in full against any amounts
            Amazon owes to you or demand immediate full reimbursement from you.




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                                                             Schedule D

                                                    Uniform Specifications
            Uniform Shirt and Jacket:

            To be determined from time to time by Amazon.

            Uniform Pants or Shorts:

            To be determined from time to time by Amazon.

            Uniform Hat:

            To be determined from time to time by Amazon.




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                                                             Schedule E

                                               Vehicle Branding Specifications

            Upon a request from Amazon, you agree to make available for branding by Amazon any and all
            Vehicles that will be used to provide Services under this Work Order. If required by Amazon,
            such Vehicles must be branded before they are used to provide Services under this Work Order.
            Unless Amazon agrees otherwise, Vehicles that display Amazon branding will be dedicated
            exclusively to the Services and will not be used for any other purpose.




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                                                             Schedule F

                                                  Delivery Personnel Criteria

            Minimum Delivery Personnel Requirements

            All of your delivery Personnel must satisfy the following requirements:

                    Must possess valid driver’s license of the type required by Law to operate applicable
                     Vehicles and transport applicable Deliverables
                    Minimum age: 21
                    Minimum six months of verifiable experience in like Vehicle within last three years
                    No DUI/DWI within five previous years
                    No major preventable collisions within three previous years
                    Maximum of two non-serious moving violation convictions or preventable minor
                     collisions or any combinations thereof in a commercial or personal vehicle within
                     previous three years
                    No driver’s license suspensions within previous three years relative to a moving violation
                     in a commercial or personal vehicle
                    Pass a drug and alcohol screening test
                    Pass a background verification (described further below)
                    Verify competency in critical skill areas for the specific driving position

            Background Verification

            You will require each applicant to provide a Social Security Number (“SSN”) or equivalent
            unique identifier, and will conduct a SSN search confirming that the supplied SSN is valid and
            that it correctly identifies the applicant. The SSN search (“SSN Search”) must include:

            1.       An identification of aliases via SSN search results; and

            2.     A search by all aliases (including those provided by SSN search and those supplied by
            applicant) when conducting each criminal records search.

            You will conduct:

            1.     a search of the National Criminal Database and a search in each county and
            corresponding federal district, if any, in which a criminal history is identified by the National
            Criminal Database search;

            2.      a federal crimes search of all federal districts in which the applicant has lived within the
            past seven years (as determined by a self-report and the SSN search);

            3.     a felony and misdemeanor search of all county courts in which the applicant has lived in
            the past seven years (as determined by a self-report and the SSN Search); provided, that for
            former addresses located within AL, AK, AR, CO, CT, DE, DC, ID, MD, MN, NE, NJ, NM,




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            NY, NC, ND, OR, RI, SD, UT, WA, and WI only, a “statewide” search is permitted in lieu of a
            county court search;

            4.     a search of the U.S. Department of Justice’s National Sex Offender Database and a search
            in each county and corresponding federal district, if any, in which a criminal history is identified
            by the National Sex Offender Database; and

            5.     a search of any relevant national governmental restricted or prohibited dealings lists,
            including the Office of Foreign Assets Control (OFAC) Specially Designated Nationals and
            Blocked Persons List.

            Criminal History Review

            Background checks should be adjudicated on a case by case basis using your best judgment to
            protect Amazon’s and your respective employees, customers, data, and property. The factors
            listed below can help the decision-making process:
                    a)       the nature of the job to be performed, including the job’s duties, identification of
                             the job’s essential functions, the circumstances under which the job is performed,
                             and the environment in which the job’s duties are performed;
                    b)       type of offense(s) or conduct;
                    c)       facts or circumstances surrounding the offense or conduct;
                    d)       number of offenses for which the individual was convicted;
                    e)       age at the time of conviction or release from prison;
                    f)       evidence that the individual performed the same type of work post-conviction;
                    g)       length and consistency of employment history before and after the offense or
                             conduct;
                    h)       rehabilitation efforts;
                    i)       employment or character references; and
                    j)       whether the individual is bonded under a federal, state, or local bonding program.




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                           EXHIBIT 2

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                       DELIVERY PROVIDER TERMS OF SERVICE
                              (Last Updated: June 21, 2016)

        These Delivery Provider Terms of Service (these “Terms”) contain the terms and
conditions that govern your performance of the Services and constitute a legally binding agreement
between the applicable Amazon Contracting Party or any of its Affiliates that enters into a Work
Order under these Terms (“Amazon”), on the one hand, and you or the entity that you represent
(“you”), on the other hand. These Terms take effect on the date when you click an “Agree” or
similar button or check box presented with these Terms or, if earlier, when you begin to perform
the Services (the “Effective Date”). By accepting these Terms, you (a) on behalf of yourself and
the entity that you represent, agree to be bound by all terms and conditions of these Terms, and (b)
represent and warrant that you have legal authority to bind the entity that you represent to these
Terms. Please see Section 11 for definitions of certain capitalized terms used in these Terms.

1.     Services.

        a.      Work Orders. At Amazon’s request and as specified in one or more work orders
that become binding on you (whether by executing the same or otherwise agreeing to the applicable
terms, including pursuant to the functionality of the Site) (“Work Orders”), you will provide
transportation, delivery and related services (whether on foot, by bicycle, by motor vehicle, or
otherwise) (“Services”, as such term is further described in any Work Order) in accordance with
the terms and conditions of these Terms, the Program Policies, and any performance standards set
forth in each applicable Work Order. These Terms and the Program Policies govern each Work
Order, and if you commence Services for Amazon in the absence of a Work Order, these Terms
and the Program Policies will nevertheless apply.

        b.     Affiliates. Any Affiliate of the applicable Amazon Contracting Party may enter
into Work Orders with you pursuant to these Terms, and with respect to such Work Orders, such
Affiliate becomes a party to these Terms and references to Amazon in these Terms are deemed to
be references to such Affiliate. Each Work Order is a separate obligation of the Affiliate of the
applicable Amazon Contracting Party that is named in such Work Order, and neither the Amazon
Contracting Party nor any other Affiliate of the Amazon Contracting Party has any obligation
under such Work Order.

        c.      No Minimum Volume/No Exclusivity. You acknowledge and agree that Amazon
makes no promises or representations whatsoever as to the amount of business that you can expect
at any time under these Terms, whether before or after any Work Order becomes binding on you.
Amazon may from time to time give volume, density, weight, product distribution or other
projections to you, but such projections are speculative only and will not in any event give rise to
any liability on the part of Amazon. The parties acknowledge and agree that Amazon may engage
the services of other companies that may perform the same or similar services as those provided
by you. These Terms do not obligate you to perform any Services unless and until a Work Order
has become binding on you in accordance with Section 1.a.




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2.    Personnel Performing Services; Relationship of the Parties; Transportation
Authority; Vehicles; License of Equipment.

       a.      Personnel Performing Services; Relationship of the Parties.

               i.      Each driver, cyclist, walker, and other Personnel provided by you to
perform the Services will: (i) have such credentials (e.g., background investigation or references
and drug screening), skills, training and expertise as are required by Law, the Program Policies
and each applicable Work Order and otherwise be suitable and appropriate to perform the Services;
and (ii) have satisfactorily completed your delivery person training program (as applicable) and
any other vetting process that you have established prior to providing any Services to or on behalf
of Amazon. You will not permit any of your Personnel who at any time fails to satisfy the
requirements of this Section 2.a to provide Services directly or indirectly for or on behalf of
Amazon. Further, upon receipt of a written notice (which may be by email) from Amazon
specifying that any of your Personnel has failed to satisfy the requirements of this Section 2.a, you
will not permit such Personnel to provide Services directly or indirectly for or on behalf of
Amazon.

                ii.      You are an independent contractor of Amazon. As between Amazon and
you, you have exclusive responsibility for your Personnel and exclusive control over your policies
relating to wages, fees and other compensation, hours, and working conditions. You have the
exclusive right to hire, engage, transfer, suspend, lay off, recall, promote, discipline, discharge and
adjust grievances with your Personnel. Your Personnel are not eligible to participate in any
employee benefit plans or other benefits available to employees of Amazon or any of its Affiliates.
Neither you nor any of your Personnel has any authority to bind Amazon or any of its Affiliates to
any agreement or obligation.

        b.     Transportation Authority. During the Term (as defined in Section 8.a), you will
obtain and maintain all motor carrier and other transportation related authorities, permits, and
registrations with Governmental Authorities (including, without limitation, those relating to the
transportation of alcohol products) as are required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order.

        c.     Vehicles. You will provide, operate, maintain and be responsible for, at your
expense, all vehicles (including bicycles) required to perform the Services under these Terms, the
Program Policies, and each applicable Work Order (each, a “Vehicle”, and collectively, the
“Vehicles”), and you will keep the Vehicles in good working order in accordance with the
manufacturer’s recommendations. You agree that, if required by Law, all such Vehicles will
display any applicable registration numbers and will satisfy all applicable safety, speed, hours of
service and other requirements imposed by Law.

       d.      License of Equipment.

               i.    As used in these Terms: (A) “Equipment” means, collectively, Hardware
and Licensed Materials; (B) “Hardware” means handheld communication devices/scanners and all
associated equipment furnished to you by Amazon, together with any related manuals and other




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documentation; and (C) “Licensed Materials” means any software (including, without limitation,
any scanning and delivery application), content or other information furnished to you (whether
standalone or for use on Hardware, on devices owned by you, or otherwise) by Amazon, together
with any related manuals and other documentation.

                ii.     Amazon grants to you, during the Term, a limited, non-exclusive, non-
transferable, non-sublicensable, revocable license to use the Equipment in each country in which
you provide the Services, solely for the purpose of performing the Services. You will provide all
other equipment necessary for the performance of the Services at your own expense. You will not,
in whole or in part: (A) copy the Equipment; (B) distribute copies of the Equipment or any part of
the Equipment to any third party; (C) modify, adapt, translate, reverse engineer, make alterations
to, decompile, disassemble or make derivative works based on the Equipment or any part of the
Equipment; (D) rent, loan, sublicense, lease, distribute or attempt to grant other rights to the
Equipment or any part of the Equipment to third parties; (E) permit remote access to the Equipment
by any third party; or (F) use the Equipment other than to perform the Services. You will require
all of your Personnel using the Equipment to attend the training specified by Amazon, including
for updates and periodic refresher training. You will keep all Hardware in good repair, good
operating condition and working order and in compliance with the manufacturer’s specifications
and will furnish all Hardware to Amazon for maintenance, service and repair as specified by
Amazon. You will not make any additions, attachments, alterations or improvements to Hardware
without the prior written consent of Amazon. If any Hardware or part of any Hardware is lost,
stolen, unreturned, damaged, sold, transferred, leased, encumbered or assigned without the express
prior written consent of Amazon, you will promptly pay Amazon the full replacement cost of the
Hardware, together with any incidental costs that are incurred by Amazon to replace the Hardware.

            iii. AMAZON LICENSES THE EQUIPMENT TO YOU “AS IS” AND
MAKES NO WARRANTIES OF ANY KIND REGARDING THE EQUIPMENT, INCLUDING,
BUT NOT LIMITED TO, THE DESIGN, OPERATION OR CONDITION OF, OR THE
QUALITY OF THE MATERIAL, COMPONENTS OR WORKMANSHIP IN, THE
EQUIPMENT. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW,
AMAZON EXPRESSLY DISCLAIMS ALL WARRANTIES, WHETHER EXPRESS OR
IMPLIED, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY,
NONINFRINGEMENT, TITLE OR FITNESS FOR A PARTICULAR PURPOSE. AMAZON
DOES NOT WARRANT THAT THE EQUIPMENT WILL MEET YOUR REQUIREMENTS
OR WILL OPERATE UNINTERRUPTED, ERROR FREE OR PROVIDE ACCURATE,
COMPLETE OR UP-TO-DATE INFORMATION. AMAZON WILL NOT BE RESPONSIBLE
FOR ANY LOSS, DAMAGE OR CLAIM CAUSED BY OR ATTRIBUTABLE TO ANY
DEFECT OR DEFICIENCY IN ANY EQUIPMENT WHETHER ARISING OUT OF THE
EQUIPMENT’S MANUFACTURE, DESIGN OR OTHERWISE.

               iv.    Amazon will defend and indemnify you from any loss, damage, cost, and
expense (including reasonable attorneys’ fees and expenses) arising out of any claim, action or
proceeding brought by a third party (each, a “Third-Party Claim”) alleging that your use of the
Equipment as authorized under this Section 2.d infringes or misappropriates any third-party patent,
copyright, trademark, trade secret or other intellectual property rights (collectively, “Third-Party
Proprietary Rights”). Amazon will have sole control of the defense of any Third-Party Claim, and




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you will cooperate (at Amazon’s expense) with Amazon in the defense. Amazon’s obligation to
indemnify under this Section 2.d(iv) will not apply to the extent that any Equipment infringes or
misappropriates any Third-Party Proprietary Rights as a result of (A) any modification of or to the
Equipment made by you or any of your Personnel, (B) use of the Equipment by you or any of your
Personnel other than as contemplated by this Section 2.d, or (C) the combination of the Equipment
with other products or services.

3.     Fees.

        a.      Amazon will pay you in accordance with the rate structure included in each
applicable Work Order or that is otherwise agreed between the parties pursuant to the functionality
of the Site. Except as provided in any Work Order or otherwise on the Site, the rate structure will
not be subject to adjustment in the event that delivery volumes, number of stops, time per stop or
between stops, distances traveled, labor or vehicle costs or any other forecast or assumption with
respect to a Planned Route differs in any respect from the forecasts and assumptions used to set
the rate structure set out in any Work Order or otherwise on the Site. Except as provided in any
Work Order or otherwise on the Site, you will be entitled to no compensation or reimbursement of
any expenses for performing the Services.

       b.     Amazon may (i) deduct from and offset against any amounts owing by Amazon to
you under these Terms or any Work Order any sums payable by you to Amazon, or (ii) invoice
you for such amounts due Amazon and you will pay Amazon invoiced amounts upon receipt of
such invoice.

        c.     You acknowledge that, depending on the jurisdiction in which the Services are
provided and the program to which the Services relate, an Amazon customer may be able during
order checkout, at the customer’s option, to provide that an e-tip be directed toward the delivery
person and/or the persons responsible for fulfilling orders (the “Tips”). If applicable, Amazon will
distribute to you all Tips collected in connection with applicable deliveries made by your
Personnel, and you agree to distribute all such Tips to your Personnel in accordance with applicable
Law.

4.      Invoicing. Unless otherwise directed by Amazon, you will provide weekly invoices (at no
charge) in a form acceptable to Amazon. Each invoice will include at least the following data in
addition to any other itemized data reasonably requested by Amazon: service date, service type,
number of Planned Routes per Service Area by shift (if applicable), and total cost. At Amazon’s
request, you will issue separate invoices for each account established under these Terms or any
Work Order. The payment obligation under each invoice is a separate obligation of the account to
which the invoiced Services were provided pursuant to the applicable Work Order, and no other
account has any obligation under such invoice or Work Order. Amazon will pay, or cause to be
paid, all undisputed portions of your properly submitted invoices within 30 days of receipt.
Amazon has no obligation to pay, or cause to be paid, any fees or expenses invoiced more than
three months after the applicable Services are performed, and you waive any claim for payment of
amounts not invoiced within that three-month period. Amazon or its designee may conduct invoice
audits to verify accuracy. Discrepant invoices will be rejected or short paid with appropriate




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explanation of the discrepancy. The parties will use their commercially reasonable efforts to
resolve any disputes promptly.

5.     Representations, Warranties and Covenants.

        a.     You represent and warrant to Amazon that you are a legal business entity duly
formed, validly existing and in good standing under the Laws of the jurisdiction of your formation
and that you have all requisite right, power and authority to enter into, and perform your obligations
under, these Terms and each Work Order.

       b.      In addition to any compliance obligations set forth in these Terms, you are solely
responsible for any and all obligations owed to your Personnel pursuant to applicable Law and for
the management of your Personnel and promptly investigating and resolving all workplace
complaints made by your Personnel.

        c.      You acknowledge that Amazon’s Code of Business Conduct and Ethics posted at
http://phx.corporate-ir.net/phoenix.zhtml?c=97664&p=irol-govConduct (the “Code”) prohibits
the paying of bribes to anyone for any reason, whether in dealings with Governmental Authorities
or the private sector. You will not violate or knowingly permit anyone to violate the Code’s
prohibition on bribery or any applicable anti-corruption Laws. Amazon may immediately
terminate or suspend performance under these Terms if you breach this Section. You will maintain
true, accurate and complete books and records concerning any payments made by you to any other
person or entity in connection with the performance of the Services, including any such payments
made on behalf of Amazon. Amazon and its designated representatives may inspect your books
and records to verify such payments and for compliance with this Section and the Code.

        d.      You will: (i) perform the Services in a competent and workmanlike manner in
accordance with the level of professional care customarily observed by highly skilled professionals
rendering similar services; (ii) not violate or infringe any third party’s right in proprietary or
confidential information in performing the Services; (iii) comply with all Laws pertaining to the
Services, including without limitation all Laws applicable to transport, health and safety; (iv) hold
and comply with all applicable licenses and permits required by Governmental Authorities in
performing the Services; (v) notify Amazon as soon as possible of any event or circumstance that
impairs the safety of or delays delivery of Deliverables, and use an acceptable industry standard
of care in the protection of the Deliverables; (vi) at all times have sufficient equipment, Personnel
and resources available to perform the Services (and, in any case in which you believe, in your
reasonable business judgment, that you do not have sufficient equipment, Personnel and resources
available to perform the Services, you will immediately notify Amazon); (vii) comply, at your sole
cost and expense, with any social compliance and product safety requirements specified by
Amazon, including Amazon’s Supplier Code of Standards and Responsibilities posted at
http://www.amazon.com/gp/help/customer/display.html?ie=UTF8&nodeId=200885140
(collectively, “Compliance Requirements”), and permit, as requested by Amazon from time to
time, Amazon’s designee to audit your compliance with any Compliance Requirements, and you
will implement any corrective actions required by Amazon resulting from such audits at your
expense; and (vii) not have any lien on Amazon property or assets, including any Deliverables or




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any documents relating to any Deliverables, and you waive all rights to any lien upon any shipment
or related documents on behalf of yourself and any third party engaged by you.

        e.       Hazardous Materials Notifications. You will notify Amazon’s dangerous goods
compliance department (at the phone number or email address designated by Amazon for this
purpose) promptly (and in any event within 24 hours) after you become aware of any (i) injury to
persons, property damage, environmental damage, fire, breakage, spillage, leakage, or any other
accident or incident involving any product defined, designated, or classified as hazardous material,
hazardous substance, or dangerous good (including limited and excepted quantities, consumer
commodity, ORM-D, lithium batteries, and radioactive and magnetic materials) under any
applicable Law and transported by you under these Terms (collectively, “Hazardous Materials”),
(ii) event or circumstance involving Hazardous Materials that violates or is reasonably likely to
violate any applicable Law, or (iii) investigation of any shipment containing Hazardous Materials
by any governmental agency or authority.

6.       Claims for Loss or Damage. You will be liable for Delay, loss or damage to Deliverables
occurring while such Deliverables are in the care, custody or control of you and/or your Personnel
in an amount equal to the actual cost of the Delayed, lost or damaged Deliverables, including the
replacement cost of the Deliverables and direct costs associated with the original packaging,
handling, and shipping (including the costs of packaging, handling and shipping the replacement).
Claims for Delayed, lost or damaged Deliverables may be based upon Amazon’s manifest, may
be initiated electronically (including via email), and may be filed at any time within 120 days after
the Deliverable was tendered to you. You will acknowledge all claims within 30 days of receipt
and will process all claims to conclusion and pay or credit the applicable account within 60 days
of receipt. You will cooperate with Amazon’s loss prevention and investigative personnel in the
conduct of investigations related to fraud, theft and other matters of mutual concern.

7.      Insurance. You will, at all times during which you provide the Services and for at least
two years after all Services are completed, carry, at your expense, the types of insurance and
minimum limits of insurance, in each case, that are specified in the Program Policies, each
applicable Work Order, or otherwise on the Site. You will submit certificates of insurance
evidencing required insurance coverages to Amazon through the Site or by such other means
specified by Amazon prior to the commencement of the Services and at each policy renewal
thereafter. You consent to Amazon disclosing your certificates of insurance or other information
to third parties for the purpose of verifying your compliance with this Section 7.

8.     Term and Termination.

       a.      Term and Termination. The term of these Terms will begin on the Effective Date
and will continue until terminated in accordance with this Section 8.a (the “Term.”). Either party
may terminate these Terms at any time, with or without cause, by providing the other party with
30 days’ prior written notice. If the term of any Work Order extends beyond the Term, these
Terms will survive for the purposes of that Work Order until the termination of that Work Order.

        b.      No Damages for Termination. Amazon will not be liable, on account of termination
or expiration of these Terms, for loss of goodwill, prospective profits or anticipated orders. Unless




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specifically provided in any Work Order, Amazon will not be liable, on account of termination of
these Terms or any Work Order, for any expenditures, investments, leases or commitments made
by you under these Terms or any Work Order or for any other reason. You acknowledge and agree
that you have no expectation, and that you have not received any assurances from Amazon or any
other person, that your business relationship with Amazon will continue beyond the Term.

       c.     Transition Assistance. In connection with the termination or expiration of these
Terms or any Work Order for any reason, you will provide reasonable assistance to Amazon in
order to enable and facilitate an orderly transition of the Services to Amazon or a third party
designated by Amazon.

9.     Indemnification.

        a.      You will defend, indemnify and hold harmless Amazon and its Affiliates and
successors, and each of their respective directors, officers and employees (each an “Indemnified
Party” and, collectively, the “Indemnified Parties”) from any third-party allegation or claim based
on, or any loss, damage, settlement, cost, expense and any other liability (including but not limited
to reasonable attorneys’ fees and expenses) arising out of or in connection with, (i) any allegation
or claim of negligence, strict liability or misconduct of you or your Personnel, (ii) a breach of these
Terms, the Program Policies, or any Work Order by you or your Personnel, (iii) any action or
inaction by you or any of your Personnel (including, without limitation, any and all loss or damage
to personal property or bodily harm (including death)), or (iv) any allegation or claim that you or
any of your Personnel failed to comply with applicable Law. However, the foregoing
indemnification obligation does not apply to the extent that any claim subject to indemnification
results from the negligence or willful misconduct of the Indemnified Parties.

        b.      Your duty to defend is independent of your duty to indemnify. Your obligations
under this Section are independent of any of your other obligations under these Terms. You will
use counsel reasonably satisfactory to the Indemnified Parties to defend each indemnified claim,
and the Indemnified Parties will cooperate (at your expense) with you in the defense. You will
not consent to the entry of any judgment or enter into any settlement without the Indemnified
Parties’ prior written consent.

10.    Confidentiality; Customer Information; Work Product.

         a.     You will at all times comply with the terms of any nondisclosure agreement
executed or otherwise agreed to by you in favor of Amazon and/or its Affiliates (an “NDA”). If
no NDA exists, you and your representatives will (i) protect and keep confidential the existence of
these Terms (including all Work Orders), their terms and conditions, and any other information
obtained from Amazon or any of its representatives that is identified as confidential or proprietary
or that, given the nature of such information or the manner of its disclosure, reasonably should be
considered confidential or proprietary (including, without limitation, all information relating to
Amazon’s technology, customers (including Customer Information (as defined below)), business
plans, marketing activities, and finances) (collectively, “Confidential Information”), (ii) use
Confidential Information solely for the purpose of providing Services, and (iii) return all
Confidential Information to Amazon promptly following a request from Amazon. All Confidential




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Information will remain Amazon’s exclusive property, and you will have no rights to use
Confidential Information except as expressly provided in an NDA or these Terms.

       b.      If you are required by any Governmental Authority to disclose the contents of any
Deliverable, you will promptly provide Amazon with notice of such requirement. In such
instances, you will use commercially reasonable efforts to (i) ensure that any items removed from
a container are promptly put back into the container following the relevant Government
Authority’s inspection, and (ii) provide Amazon with an audit against the manifest for such items.

        c.      Except as expressly set forth in these Terms, the Program Policies, or any Work
Order, you will not use any trade name, trademark, service mark, logo or commercial symbol, or
any other proprietary rights of Amazon or any of its Affiliates in any manner (including but not
limited to use in any client list, press release, advertisement or other promotional material) without
the prior written authorization of such use by a Vice President of Amazon. Without the prior
written authorization by a Vice President of Amazon, you will not make any public announcement
or other statement (including, without limitation, a press release, response to a media query,
advertisement, or other promotional material) in which you refer to Amazon or its Affiliates, these
Terms, any Work Order, the Services, or any Confidential Information.

        d.      You will, and will cause your Personnel to, use all personally identifiable
information concerning Amazon’s customers, including names and addresses (collectively,
“Customer Information”), solely for the purpose of providing Services. You will comply with all
instructions of Amazon in respect of the processing of Customer Information, and you will
maintain appropriate technical and organizational security measures to prevent unauthorized use
or disclosure of Customer Information. All Customer Information is and will remain the exclusive
property of Amazon, and you will not transfer, rent, barter, trade or sell Customer Information and
will not develop lists of or aggregate Customer Information. Except as otherwise required by
applicable Law, you will, and will cause your Personnel to, delete all instances (including backups
and other copies) of Customer Information associated with each shipment within two weeks after
completing the shipment. Before disposing of any hardware, media or software (including any
sale or transfer of such material or any disposition of your business) that contains or previously
contained Customer Information, at Amazon’s direction, you will either return such hardware,
media or software to Amazon, or perform a complete forensic destruction of the Customer
Information (which may include a physical destruction, preferably incineration, or secure data
wipe) such that no Customer Information can be recovered or retrieved. For the avoidance of
doubt, the contents of Deliverables tendered by Amazon to you are Customer Information subject
to this Section 10.

        e.     The parties agree that, between the parties, any information or data arising out of
or in connection with the Services, including without limitation any Amazon customer data or
Customer Information and any data, analysis or other work specifically commissioned by Amazon
and agreed to by you (collectively, “Work Product”), is owned by Amazon. For purposes of these
Terms, Work Product does not include: (a) any inventions or developments made by you and
existing prior to the Effective Date; or (b) any inventions or developments developed entirely
independently by you, at any time, without any use, knowledge of, or reference to, the Confidential
Information. The Work Product has been specially ordered and commissioned by Amazon. You




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agree that the Work Product is a “work made for hire” for copyright purposes, with all copyrights
in the Work Product owned by Amazon. To the extent that the Work Product does not qualify as
a work made for hire under applicable Law, and to the extent that the Work Product includes
material subject to copyright, trade secret, or other proprietary rights protection, you hereby assign
to Amazon (or to such of its Affiliates as it may designate), its successors and assigns, all right,
title and interest in and to the Work Product. To the extent necessary to effect this assignment,
you will execute any documents that Amazon reasonably requests. At any time upon request from
Amazon and upon termination or expiration of these Terms, you will deliver to Amazon in tangible
form all materials containing Work Product, whether complete or in process. All Work Product
will be Confidential Information that is subject to this Section 10.

11.    Defined Terms.

        a.      “Affiliate” means, with respect to any entity, any person or other entity that directly
or indirectly controls, is controlled by, or is under common control with, such first entity.

        b.    “Amazon Contracting Party” means: (i) if the Services are provided in the United
States, Amazon Logistics, Inc.; or (ii) if the Services are provided in the United Kingdom, Amazon
UK Services Ltd.

        c.     “Chosen Courts” means: (i) if the Services are provided in the United States, the
federal and state courts in King County, Washington; or (ii) if the Services are provided in the
United Kingdom, the courts in England and Wales.

        d.     “Delay” means, with respect to any Deliverable, that such Deliverable was not
delivered within the delivery window specified by Amazon.

       e.      “Deliverables” means parcels, totes or other deliverables tendered by Amazon to
you or any of your Personnel.

       f.      “Governing Laws” means: (i) if the Services are provided in the United States, the
laws of the State of Washington; or (ii) if the Services are provided in the United Kingdom, the
laws of England and Wales.

        g.     “Governmental Authority” means any governmental, quasi-governmental or
regulatory authority, body, department, commission, board, bureau, agency, division, court,
securities exchange or other legislative, executive or judicial governmental entity or
instrumentality, whether foreign or domestic, of any country, nation, state, county, parish or
municipality, jurisdiction or other political subdivision.

       h.      “Law” means any national, federal, state, local or foreign statute, common law,
ordinance, rule, regulation, order, judgment or agency requirement of, or issued, promulgated or
entered into with, any Governmental Authority.

       i.      “Personnel” means, with respect to any party, such party’s employees, agents,
representatives, and subcontractors. For the avoidance of doubt, your Personnel will include any
individual assigned by you to perform the Services.




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         j.     “Planned Route” means a number of Deliverables in a given area that Amazon plans
for a single person and/or Vehicle for delivery on a specific shift and day and that in turn is assigned
by you to a specific person and/or Vehicle for delivery on a specific shift and day.

       k.     “Program Policies” means any terms, conditions, policies, guidelines and other
information of which you are notified in accordance with Section 12.c or that are referenced in
these Terms or posted on the Site.

       l.     “Service Area” means the zip codes, cities, geographies or other areas with respect
to which you provide the Services, as specifically defined in a Work Order.

       m.     “Site” means the Amazon Delivery Provider website (or any successor or related
website designated by Amazon).

        n.      “Taxes” means those applicable sales or use taxes or value added taxes that you are
legally obligated to charge.

12.    Miscellaneous.

        a.      You will not assign any of your rights or obligations under these Terms or any
Work Order without Amazon’s prior written consent. Any attempt by you to assign, subcontract
or delegate in violation of this Section will be null and void.

        b.      These Terms and the Work Orders are governed by the applicable Governing Laws,
excluding any conflict of laws rules. You irrevocably submit to venue and exclusive jurisdiction
in the applicable Chosen Courts for any dispute arising out of or relating to these Terms, any Work
Order or the Services, and you waive all objections to jurisdiction and venue of the applicable
Chosen Courts.

        c.       Notices to you under these Terms may be provided by (i) posting a notice on the
Site, or (ii) sending a message to the email address then associated with your account. Notices
provided by posting on the Site will be effective upon posting, and notices provided by email will
be effective when sent by Amazon. It is your responsibility to keep your email address current,
and you will be deemed to have received any email sent to the email address then associated with
your account when Amazon sends the email, whether or not you actually receive it. Notices to
Amazon under these Terms may be provided by (A) facsimile transmission to the number stated
in the Program Policies or any applicable Work Order, or (B) pre-paid post requiring signature on
receipt or personal delivery to the address stated in the Program Policies or any applicable Work
Order. Amazon may update the facsimile number and/or address for notices to Amazon by posting
a notice on the Site. Notices to Amazon will be deemed effective when delivered in person, when
delivered by pre-paid post, or when received by facsimile.

       d.     If any provision of these Terms, the Program Policies, or any Work Order is
determined to be unenforceable, the parties intend that these Terms, the Program Policies, or the
Work Order (as applicable) be enforced as if the unenforceable provisions were not present and




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that any partially valid and enforceable provisions be enforced to the extent that they are
enforceable.

        e.      A party does not waive any right under any provision of these Terms, the Program
Policies, or any Work Order by failing to insist on compliance with, or by failing to exercise any
right under, the applicable provision. Any waivers granted under these Terms, the Program
Policies, or any Work Order are effective only if recorded in a writing signed by the party granting
such waiver. The rights and remedies of the parties under these Terms, the Program Policies, and
any Work Order are cumulative and are not exclusive, and either party may enforce any of its
rights or remedies under these Terms, the Program Policies, or any Work Order or other rights and
remedies available to it at law or in equity. The Section headings of these Terms are for
convenience only and have no interpretive value.

       f.     The following provisions, along with any other provisions that by their nature
should survive termination or expiration of these Terms, will survive: Sections 4, 6, 7, 8.b, 8.c,
and 9-12.

       g.     You acknowledge that any breach of these Terms, the Program Policies, or any
Work Order by you or any of your representatives would cause irreparable harm to Amazon for
which Amazon has no adequate remedies at law. Accordingly, Amazon is entitled to specific
performance or injunctive relief for any breach of these Terms, the Program Policies, or any Work
Order by you or any of your representatives without the necessity of proving damages or posting
bond.

        h.     Except for your indemnity obligations under Section 9 and liability arising out of
your breach of Section 10, neither party will be liable under any circumstances for lost
opportunities or profits, consequential, special, punitive, incidental or indirect damages of any
kind. Nothing in these Terms shall limit or exclude either party's liability for any matter that may
not be limited or excluded by applicable Law.

        i.      You may charge and Amazon will pay Taxes invoiced by you, provided that those
Taxes are stated on the original invoice that you provide to Amazon and your invoices state those
Taxes separately and meet the appropriate tax requirements for a valid tax invoice, if any. Amazon
may provide you an exemption certificate acceptable to the relevant taxing authority, in which
case, you will not collect the Taxes covered by the certificate. You will be responsible for all other
taxes (including interest and penalties) or fees arising from transactions and the documentation of
transactions under these Terms and any Work Order. Amazon will maintain the right to deduct or
withhold any taxes that Amazon determines it is obligated to withhold from any amounts payable
to you under these Terms or any Work Order, and payment to you as reduced by such deductions
or withholdings will constitute full payment and settlement to you of all amounts payable to you
under these Terms or any Work Order. You will provide Amazon with any forms, documents, or
certifications as may be required for Amazon to satisfy any information reporting or withholding
tax obligations with respect to any payments under these Terms or any Work Order.

      j.     These Terms (together with the Program Policies, which are incorporated in these
Terms by this reference), any Work Orders, and any NDA constitute the complete and final




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agreement of the parties pertaining to the Services and supersede and replace the parties’ prior
agreements, understandings, representations and discussions (whether written or oral) relating to
the Services.

        k.      Amazon may modify these Terms (including any Program Policies) at any time by
posting a revised version on the Site or by otherwise notifying you in accordance with Section
12.c. The modified Terms will become effective upon posting or, if Amazon notifies you by email,
as stated in the email message. By continuing to provide the Services after the effective date of
any modification to these Terms, you agree to be bound by the modified Terms. It is your
responsibility to check the Site regularly for modifications to these Terms.

       l.      The parties may use standard business forms or other communications, but use of
such forms is for convenience only and does not alter the provisions of these Terms. NEITHER
PARTY WILL BE BOUND BY, AND EACH SPECIFICALLY OBJECTS TO, ANY
PROVISION THAT IS DIFFERENT FROM OR IN ADDITION TO THESE TERMS
(WHETHER PROFFERED VERBALLY OR IN ANY QUOTATION, INVOICE, BILL OF
LADING,         SHIPPING        DOCUMENT,            ACCEPTANCE,            CONFIRMATION,
CORRESPONDENCE, OR OTHERWISE).

         m.     You will not be liable for your failure or delay in fulfilling your obligations under
these Terms, the Program Policies, or any Work Order if such failure or delay is caused by fire,
flood, weather conditions or other Acts of God, invasions, riots, closing of public highways, civil
unrest, war, or acts of terrorism or any circumstance beyond your reasonable control and without
fault or negligence on your part (“Force Majeure”); provided, that (i) you will promptly notify
Amazon in writing of the occurrence and details of any event of Force Majeure that has caused, or
is likely to cause, you to either delay or fail to perform your obligations under these Terms or any
Work Order, and (ii) you will use reasonable efforts to overcome or limit the effects of any such
event of Force Majeure on Amazon. If the service interruption caused by the Force Majeure
continues for 30 days, either party will have the right to terminate any affected Work Order with
respect to the Services not being performed by giving the other party 24 hours’ prior written notice.
To be effective, such notice must be delivered during the service interruption.

        n.     If there is a conflict among these Terms, the Program Policies, and any Work Order,
the Program Policies will prevail over these Terms and the Work Order, and the Work Order will
prevail over these Terms.




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                           EXHIBIT 3

                             Exhibit 3 - page 35
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                                                       First Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This First Amendment to Work Order (this “First Amendment”) is effective as of September 30,
            2015, and amends that certain Work Order, dated as of September 2, 2015 (the “Work Order”), by and
            between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this First Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this First Amendment and the terms of the Work Order, the terms of this First Amendment will control.

                                                      [Signature Page Follows]




                                                     Exhibit 3 - page 36
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this First Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                         Hany Elkordy                                         Benjamin Art
               Name:                                                 Name:
                         Director, AMZL NA                                    CEO
               Title:                                                Title:
                              September 21, 2015                                    September 20, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to First Amendment to Work Order]



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                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution       Duration of           Fees for Services   Uniform and     Total (per
              Point              Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1               4.5 hours             $111.00             $5.00           $116.00
                                 6.5 hours             $169.00             $5.00           $174.00
                                 8.5 hours             $227.00             $5.00           $232.00
                                 10.5 hours            $285.00             $5.00           $290.00
              UCA3, UCA4,        4.5 hours             $81.00              $5.00           $86.00
              and UCA5           6.5 hours             $124.00             $5.00           $129.00
                                 8.5 hours             $167.00             $5.00           $172.00
                                 10.5 hours            $210.00             $5.00           $215.00
              UNV1               4.5 hours             $73.00              $5.00           $78.00
                                 6.5 hours             $112.00             $5.00           $117.00
                                 8.5 hours             $151.00             $5.00           $156.00
                                 10.5 hours            $190.00             $5.00           $195.00




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                           EXHIBIT 4

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                                                      Second Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Second Amendment to Work Order (this “Second Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Second Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Second Amendment and the terms of the Work Order, the terms of this Second Amendment will
            control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Second Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                         Hany Elkordy                                         Benjamin Art
               Name:                                                 Name:
                        Director, AMZL NA                                     CEO
               Title:                                                Title:
                                  October 9, 2015                                     October 8, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                         [Signature Page to Second Amendment to Work Order]


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                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution        Duration of          Fees for Services   Uniform and     Total (per
              Point               Planned Route        (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $111.00             $5.00           $116.00
                                  6.5 hours            $169.00             $5.00           $174.00
                                  8.5 hours            $227.00             $5.00           $232.00
                                  10.5 hours           $285.00             $5.00           $290.00
              UCA3, UCA4,         4.5 hours            $81.00              $5.00           $86.00
              and UCA5            6.5 hours            $124.00             $5.00           $129.00
                                  8.5 hours            $167.00             $5.00           $172.00
                                  10.5 hours           $210.00             $5.00           $215.00
              UCA6                4.5 hours            $75.00              $5.00           $80.00
                                  6.5 hours            $115.00             $5.00           $120.00
                                  8.5 hours            $155.00             $5.00           $160.00
                                  10.5 hours           $195.00             $5.00           $200.00
              UNV1                4.5 hours            $73.00              $5.00           $78.00
                                  6.5 hours            $112.00             $5.00           $117.00
                                  8.5 hours            $151.00             $5.00           $156.00
                                  10.5 hours           $190.00             $5.00           $195.00




            Amazon Confidential
                                                     Exhibit 4 - page 44                                 4 of 4
                                                                                                      2188038
Case 2:19-bk-14989-WB   Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50   Desc
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                           EXHIBIT 5

                             Exhibit 5 - page 45
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50                      Desc
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                                                       Third Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Third Amendment to Work Order (this “Third Amendment”) is effective as of October 19,
            2015, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, and the Second Amendment to Work Order,
            dated as of October 19, 2015 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Third Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule A. Schedule A to the Work Order is hereby deleted in its entirety
            and replaced with Schedule A attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Third Amendment and the terms of the Work Order, the terms of this Third Amendment will control.

                                                      [Signature Page Follows]




            Amazon Confidential
                                                     Exhibit 5 - page 46                                            1 of 4
                                                                                                                 2195460
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50              Desc
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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Third Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
                         Hany Elkordy                                         Benjamin Art
               Name:                                                 Name:
                         Director, AMZL NA                                    CEO
               Title:                                                Title:
                                  October 14, 2015                                    October 14, 2015
               Date Signed: ____________________________             Date Signed: ____________________________




                                          [Signature Page to Third Amendment to Work Order]


            Amazon Confidential
                                                     Exhibit 5 - page 47                                    2 of 4
                                                                                                         2195460
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                                             Schedule A

                                                              Policies

            Your Personnel; No Subcontractors.

            Except as otherwise provided in this Work Order, (a) you will hire and employ all drivers, cyclists, walkers,
            and other Personnel who are assigned by you to perform the Services under this Work Order, and (b) you
            will not engage subcontractors to perform the Services without the prior written consent of Amazon.

            Tips.

            Without limiting the generality of Section 3(c) of the Terms, which requires you to distribute all Tips to
            your Personnel in accordance with applicable Law, you will distribute each Tip to your specific Personnel
            who delivered the shipment to which the Tip relates in accordance with the disbursement report derived
            from Amazon’s systems and furnished to you by Amazon.




            Amazon Confidential
                                                     Exhibit 5 - page 48                                            3 of 4
                                                                                                                 2195460
DocuSign Envelope ID: EAB18E29-340A-44D4-AE95-046C70A1552E
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution        Duration of          Fees for Services   Uniform and     Total (per
              Point               Planned Route        (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $129.00             $5.00           $134.00
                                  6.5 hours            $196.00             $5.00           $201.00
                                  8.5 hours            $263.00             $5.00           $268.00
                                  10.5 hours           $330.00             $5.00           $335.00
              UCA3, UCA4,         4.5 hours            $81.00              $5.00           $86.00
              and UCA5            6.5 hours            $124.00             $5.00           $129.00
                                  8.5 hours            $167.00             $5.00           $172.00
                                  10.5 hours           $210.00             $5.00           $215.00
              UCA6                4.5 hours            $75.00              $5.00           $80.00
                                  6.5 hours            $115.00             $5.00           $120.00
                                  8.5 hours            $155.00             $5.00           $160.00
                                  10.5 hours           $195.00             $5.00           $200.00
              UNV1                4.5 hours            $73.00              $5.00           $78.00
                                  6.5 hours            $112.00             $5.00           $117.00
                                  8.5 hours            $151.00             $5.00           $156.00
                                  10.5 hours           $190.00             $5.00           $195.00




            Amazon Confidential
                                                     Exhibit 5 - page 49                                 4 of 4
                                                                                                      2195460
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                           EXHIBIT 6

                             Exhibit 6 - page 50
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50                      Desc
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                                                      Fourth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Fourth Amendment to Work Order (this “Fourth Amendment”) is effective as of January 17,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, and the Third Amendment to Work Order, dated as of October 19, 2015 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Fourth Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourth Amendment and the terms of the Work Order, the terms of this Fourth Amendment will
            control.

                                                      [Signature Page Follows]




            Amazon Confidential
                                                     Exhibit 6 - page 51                                            1 of 3
                                                                                                                  254296
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50             Desc
                                             Main Document    Page 52 of 168


                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name: Hany Elkordy                                    Name: Benjamin Art
               Title:   Director, AMZL NA                            Title:   CEO
                             January 16, 2016
               Date Signed: ____________________________                           January 16, 2016
                                                                     Date Signed: ____________________________




                                         [Signature Page to Fourth Amendment to Work Order]



            Amazon Confidential
                                                     Exhibit 6 - page 52                                    2 of 3
                                                                                                          254296
DocuSign Envelope ID: 1B2EAE3F-A5BF-4201-A162-7B40BE8983FC
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution        Duration of          Fees for Services   Uniform and     Total (per
              Point               Planned Route        (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $129.00             $5.00           $134.00
                                  6.5 hours            $196.00             $5.00           $201.00
                                  8.5 hours            $263.00             $5.00           $268.00
                                  10.5 hours           $330.00             $5.00           $335.00
              UCA3, UCA4,         4.5 hours            $86.04              $5.00           $91.04
              UCA5, and           6.5 hours            $131.56             $5.00           $136.56
              UCA6                8.5 hours            $174.08             $5.00           $182.08
                                  10.5 hours           $222.60             $5.00           $227.60
              UNV1                4.5 hours            $73.00              $5.00           $78.00
                                  6.5 hours            $112.00             $5.00           $117.00
                                  8.5 hours            $151.00             $5.00           $156.00
                                  10.5 hours           $190.00             $5.00           $195.00




            Amazon Confidential
                                                     Exhibit 6 - page 53                                 3 of 3
                                                                                                       254296
Case 2:19-bk-14989-WB   Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50   Desc
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                           EXHIBIT 7

                             Exhibit 7 - page 54
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
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                                                       Fifth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fifth Amendment to Work Order (this “Fifth Amendment”) is effective as of February 14,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, and the Fourth
            Amendment to Work Order, dated as of January 17, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fifth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifth Amendment and the terms of the Work Order, the terms of this Fifth Amendment will control.

                                                      [Signature Page Follows]




            Amazon Confidential
                                                      Exhibit 7 - page 55                                           1 of 4
                                                                                                                 2350321
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50             Desc
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name:     Benjamin Art

               Title:   Director, AMZL NA                            Title:   CEO
                             February 17, 2016
               Date Signed: ____________________________                           February 15, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Fifth Amendment to Work Order]



            Amazon Confidential
                                                      Exhibit 7 - page 56                                   2 of 4
                                                                                                         2350321
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50     Desc
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                                                             Schedule B

                                                         Distribution Points

                 1. UCA1 – San Francisco, CA

                 2. UCA3 – Los Angeles, CA

                 3. UCA4 – Irvine, CA

                 4. UCA5 – Los Angeles, CA

                 5. UCA6 – San Diego, CA

                 6. UCA8 – Berkeley, CA

                 7. UNV1 – Las Vegas, NV




            Amazon Confidential
                                                      Exhibit 7 - page 57                           3 of 4
                                                                                                 2350321
DocuSign Envelope ID: 075A2450-2B1F-4B8B-AFFA-3E07247AE197
            Case 2:19-bk-14989-WB              Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50          Desc
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                                                             Schedule C

                                                      Fees Payable by Amazon

            Prime Now

              Distribution        Duration of           Fees for Services   Uniform and     Total (per
              Point               Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1                4.5 hours             $102.00             $5.00           $107.00
                                  6.5 hours             $155.50             $5.00           $160.50
                                  8.5 hours             $209.00             $5.00           $214.00
                                  10.5 hours            $262.50             $5.00           $267.50
              UCA3, UCA4,         4.5 hours             $86.04              $5.00           $91.04
              UCA5, and           6.5 hours             $131.56             $5.00           $136.56
              UCA6                8.5 hours             $177.08             $5.00           $182.08
                                  10.5 hours            $222.60             $5.00           $227.60
              UCA8                4.5 hours             $97.60              $5.00           $102.60
                                  6.5 hours             $148.90             $5.00           $153.90
                                  8.5 hours             $200.20             $5.00           $205.20
                                  10.5 hours            $251.50             $5.00           $256.50
              UNV1                4.5 hours             $73.00              $5.00           $78.00
                                  6.5 hours             $112.00             $5.00           $117.00
                                  8.5 hours             $151.00             $5.00           $156.00
                                  10.5 hours            $190.00             $5.00           $195.00




            Amazon Confidential
                                                      Exhibit 7 - page 58                                 4 of 4
                                                                                                       2350321
Case 2:19-bk-14989-WB   Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50   Desc
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                           EXHIBIT 8

                             Exhibit 8 - page 59
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50                      Desc
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                                                       Sixth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixth Amendment to Work Order (this “Sixth Amendment”) is effective as of February 19,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, and the Fifth Amendment to Work Order, dated
            as of February 14, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation
            (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and
            not defined in this Sixth Amendment have the respective meanings assigned to such terms in the Delivery
            Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be
            amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixth Amendment and the terms of the Work Order, the terms of this Sixth Amendment will control.

                                                      [Signature Page Follows]




            Amazon Confidential
                                                     Exhibit 8 - page 60                                            1 of 4
                                                                                                                 2361897
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
           Case 2:19-bk-14989-WB             Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50              Desc
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name: Benjamin Art
               Title:   Director, AMZL NA                            Title: CEO
                             February 20, 2016
               Date Signed: ____________________________                           February 18, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Sixth Amendment to Work Order]



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                                                     Exhibit 8 - page 61                                    2 of 4
                                                                                                         2361897
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
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                                                             Schedule B

                                                        Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UIL1 – Chicago, IL

                8. UNV1 – Las Vegas, NV




            Amazon Confidential
                                                     Exhibit 8 - page 62                           3 of 4
                                                                                                2361897
DocuSign Envelope ID: DB1D49CE-267A-4C25-AC19-9410AB25F868
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Prime Now

              Distribution        Duration of          Fees for Services   Uniform and     Total (per
              Point               Planned Route        (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $102.00             $5.00           $107.00
                                  6.5 hours            $155.50             $5.00           $160.50
                                  8.5 hours            $209.00             $5.00           $214.00
                                  10.5 hours           $262.50             $5.00           $267.50
              UCA3, UCA4,         4.5 hours            $86.04              $5.00           $91.04
              UCA5, and           6.5 hours            $131.56             $5.00           $136.56
              UCA6                8.5 hours            $177.08             $5.00           $182.08
                                  10.5 hours           $222.60             $5.00           $227.60
              UCA8                4.5 hours            $97.60              $5.00           $102.60
                                  6.5 hours            $148.90             $5.00           $153.90
                                  8.5 hours            $200.20             $5.00           $205.20
                                  10.5 hours           $251.50             $5.00           $256.50
              UIL1                4.5 hours            $88.56              $5.00           $93.56
                                  5.5 hours            $111.95             $5.00           $116.95
                                  6.5 hours            $135.34             $5.00           $140.34
                                  8.5 hours            $182.12             $5.00           $187.12
                                  9.5 hours            $205.51             $5.00           $210.51
                                  10.5 hours           $228.90             $5.00           $233.90
              UNV1                4.5 hours            $73.00              $5.00           $78.00
                                  6.5 hours            $112.00             $5.00           $117.00
                                  8.5 hours            $151.00             $5.00           $156.00
                                  10.5 hours           $190.00             $5.00           $195.00




            Amazon Confidential
                                                     Exhibit 8 - page 63                                 4 of 4
                                                                                                      2361897
Case 2:19-bk-14989-WB   Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50   Desc
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                           EXHIBIT 9

                             Exhibit 9 - page 64
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
           Case 2:19-bk-14989-WB            Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50                       Desc
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                                                    Seventh Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Seventh Amendment to Work Order (this “Seventh Amendment”) is effective as of April 10,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, and the Sixth Amendment to Work Order, dated as of February 19, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Seventh Amendment
            have the respective meanings assigned to such terms in the Delivery Provider Terms of Service to which
            you agreed on the Delivery Provider Platform (as the same may be amended, modified, or supplemented
            from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventh Amendment and the terms of the Work Order, the terms of this Seventh Amendment will
            control.

                                                     [Signature Page Follows]




            Amazon Confidential
                                                    Exhibit 9 - page 65                                             1 of 4
                                                                                                                 2446636
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
           Case 2:19-bk-14989-WB            Doc 349 Filed 10/01/19 Entered 10/01/19 18:08:50              Desc
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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventh Amendment.

              Amazon Logistics, Inc.                               Scoobeez, Inc.


              By:                                                  By:
              Name: Hany Elkordy                                   Name: Benjamin Art
              Title:   Director, AMZL NA                           Title: CEO
                            April 14, 2016
              Date Signed: ____________________________                          April 11, 2016
                                                                   Date Signed: ____________________________




                                       [Signature Page to Seventh Amendment to Work Order]


            Amazon Confidential
                                                   Exhibit 9 - page 66                                     2 of 4
                                                                                                        2446636
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA3 – Los Angeles, CA

                3. UCA4 – Irvine, CA

                4. UCA5 – Los Angeles, CA

                5. UCA6 – San Diego, CA

                6. UCA8 – Berkeley, CA

                7. UCA9 – Sacramento, CA

                8. UIL1 – Chicago, IL

                9. UNV1 – Las Vegas, NV




            Amazon Confidential
                                                   Exhibit 9 - page 67                            3 of 4
                                                                                               2446636
DocuSign Envelope ID: EC6377C7-5DCF-4BE8-BAC3-6BA3CDEAAA67
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                                                             Schedule C

                                                    Fees Payable by Amazon

            Prime Now

             Distribution         Duration of         Fees for Services   Uniform and     Total (per
             Point                Planned Route       (per Planned        Vehicle Brand   Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1                 4.5 hours           $102.00             $5.00           $107.00
                                  6.5 hours           $155.50             $5.00           $160.50
                                  8.5 hours           $209.00             $5.00           $214.00
                                  10.5 hours          $262.50             $5.00           $267.50
             UCA3, UCA4,          4.5 hours           $86.04              $5.00           $91.04
             UCA5, UCA6,          6.5 hours           $131.56             $5.00           $136.56
             and UCA9             8.5 hours           $177.08             $5.00           $182.08
                                  10.5 hours          $222.60             $5.00           $227.60
             UCA8                 4.5 hours           $97.60              $5.00           $102.60
                                  6.5 hours           $148.90             $5.00           $153.90
                                  8.5 hours           $200.20             $5.00           $205.20
                                  10.5 hours          $251.50             $5.00           $256.50
             UIL1                 4.5 hours           $88.56              $5.00           $93.56
                                  5.5 hours           $111.95             $5.00           $116.95
                                  6.5 hours           $135.34             $5.00           $140.34
                                  8.5 hours           $182.12             $5.00           $187.12
                                  9.5 hours           $205.51             $5.00           $210.51
                                  10.5 hours          $228.90             $5.00           $233.90
             UNV1                 4.5 hours           $73.00              $5.00           $78.00
                                  6.5 hours           $112.00             $5.00           $117.00
                                  8.5 hours           $151.00             $5.00           $156.00
                                  10.5 hours          $190.00             $5.00           $195.00




            Amazon Confidential
                                                    Exhibit 9 - page 68                                 4 of 4
                                                                                                     2446636
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                         EXHIBIT 10

                             Exhibit 10 - page 69
DocuSign Envelope ID: B4A6CF74-AE8E-4717-BBC5-2DAFCAD9629E
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                                                     Eighth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Eighth Amendment to Work Order (this “Eighth Amendment”) is effective as of April 22,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, and the Seventh
            Amendment to Work Order, dated as of April 10, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Eighth Amendment have the respective meanings assigned
            to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery Provider
            Platform (as the same may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighth Amendment and the terms of the Work Order, the terms of this Eighth Amendment will
            control.

                                                     [Signature Page Follows]




            Amazon Confidential
                                                   Exhibit 10 - page 70                                             1 of 4
                                                                                                                 2471819
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:
               Name:    Hany Elkordy                                Name: Benjamin Art
               Title:   Director, AMZL NA                           Title:   CEO

                             April 26, 2016
               Date Signed: ____________________________                          April 26, 2016
                                                                    Date Signed: ____________________________




                                        [Signature Page to Eighth Amendment to Work Order]


            Amazon Confidential
                                                   Exhibit 10 - page 71                                     2 of 4
                                                                                                         2471819
DocuSign Envelope ID: B4A6CF74-AE8E-4717-BBC5-2DAFCAD9629E
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                                                             Schedule B

                                                       Distribution Points

                1. UCA1 – San Francisco, CA

                2. UCA2 – Redondo Beach, CA

                3. UCA3 – Los Angeles, CA

                4. UCA4 – Irvine, CA

                5. UCA5 – Los Angeles, CA

                6. UCA6 – San Diego, CA

                7. UCA8 – Berkeley, CA

                8. UCA9 – Sacramento, CA

                9. UIL1 – Chicago, IL

                10. UNV1 – Las Vegas, NV




            Amazon Confidential
                                                   Exhibit 10 - page 72                           3 of 4
                                                                                               2471819
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                                                             Schedule C

                                                    Fees Payable by Amazon

            Prime Now

             Distribution         Duration of         Fees for Services   Uniform and     Total (per
             Point                Planned Route       (per Planned        Vehicle Brand   Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1                 4.5 hours           $102.00             $5.00           $107.00
                                  6.5 hours           $155.50             $5.00           $160.50
                                  8.5 hours           $209.00             $5.00           $214.00
                                  10.5 hours          $262.50             $5.00           $267.50
             UCA2, UCA3,          4.5 hours           $86.04              $5.00           $91.04
             UCA4, UCA5,          6.5 hours           $131.56             $5.00           $136.56
             UCA6, and            8.5 hours           $177.08             $5.00           $182.08
             UCA9                 10.5 hours          $222.60             $5.00           $227.60
             UCA8                 4.5 hours           $97.60              $5.00           $102.60
                                  6.5 hours           $148.90             $5.00           $153.90
                                  8.5 hours           $200.20             $5.00           $205.20
                                  10.5 hours          $251.50             $5.00           $256.50
             UIL1                 4.5 hours           $88.56              $5.00           $93.56
                                  5.5 hours           $111.95             $5.00           $116.95
                                  6.5 hours           $135.34             $5.00           $140.34
                                  8.5 hours           $182.12             $5.00           $187.12
                                  9.5 hours           $205.51             $5.00           $210.51
                                  10.5 hours          $228.90             $5.00           $233.90
             UNV1                 4.5 hours           $73.00              $5.00           $78.00
                                  6.5 hours           $112.00             $5.00           $117.00
                                  8.5 hours           $151.00             $5.00           $156.00
                                  10.5 hours          $190.00             $5.00           $195.00




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                                                    Exhibit 10 - page 73                                4 of 4
                                                                                                     2471819
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                         EXHIBIT 11

                             Exhibit 11 - page 74
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                                                       Ninth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Ninth Amendment to Work Order (this “Ninth Amendment”) is effective as of May 11, 2016,
            and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
            to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
            19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
            Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
            2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
            Work Order, dated as of April 10, 2016, and the Eighth Amendment to Work Order, dated as of April 22,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Ninth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of
            Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Ninth Amendment and the terms of the Work Order, the terms of this Ninth Amendment will control.

                                                      [Signature Page Follows]




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                                                     Exhibit 11 - page 75                                           1 of 7
                                                                                                                 2500733
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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Ninth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name:     Shahan Ohanessian

               Title:   Director, AMZL NA                            Title:   CEO
                             May 16, 2016
               Date Signed: ____________________________                           May 16, 2016
                                                                     Date Signed: ____________________________




                                          [Signature Page to Ninth Amendment to Work Order]


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                                                                                                         2500733
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                                                             Schedule B

                                                         Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. UCA1 – San Francisco, CA

                 5. UCA2 – Redondo Beach, CA

                 6. UCA3 – Los Angeles, CA

                 7. UCA4 – Irvine, CA

                 8. UCA5 – Los Angeles, CA

                 9. UCA6 – San Diego, CA

                 10. UCA8 – Berkeley, CA

                 11. UCA9 – Sacramento, CA

                 12. UIL1 – Chicago, IL

                 13. UNV1 – Las Vegas, NV




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                                                     Exhibit 11 - page 77                          3 of 7
                                                                                                2500733
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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution        Duration of           Fees for Services   Uniform and     Total (per
              Point               Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1                4.5 hours             $102.00             $5.00           $107.00
                                  6.5 hours             $155.50             $5.00           $160.50
                                  8.5 hours             $209.00             $5.00           $214.00
                                  10.5 hours            $262.50             $5.00           $267.50
              UCA2, UCA3,         4.5 hours             $86.04              $5.00           $91.04
              UCA4, UCA5,         6.5 hours             $131.56             $5.00           $136.56
              UCA6, and           8.5 hours             $177.08             $5.00           $182.08
              UCA9                10.5 hours            $222.60             $5.00           $227.60
              UCA8                4.5 hours             $97.60              $5.00           $102.60
                                  6.5 hours             $148.90             $5.00           $153.90
                                  8.5 hours             $200.20             $5.00           $205.20
                                  10.5 hours            $251.50             $5.00           $256.50
              UIL1                4.5 hours             $88.56              $5.00           $93.56
                                  5.5 hours             $111.95             $5.00           $116.95
                                  6.5 hours             $135.34             $5.00           $140.34
                                  8.5 hours             $182.12             $5.00           $187.12
                                  9.5 hours             $205.51             $5.00           $210.51
                                  10.5 hours            $228.90             $5.00           $233.90
              UNV1                4.5 hours             $73.00              $5.00           $78.00
                                  6.5 hours             $112.00             $5.00           $117.00
                                  8.5 hours             $151.00             $5.00           $156.00
                                  10.5 hours            $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point   Duration of     Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           Planned Route   Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                                                                  (per Planned Route)    Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                  $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late



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                 arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                 circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                 hours at a rate equal to $31.00 per hour at DCH1, DCH2, and DCH3.




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                                                                                                              2500733
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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                                                     Exhibit 11 - page 81                          7 of 7
                                                                                                2500733
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                         EXHIBIT 12

                             Exhibit 12 - page 82
DocuSign Envelope ID: 9237266D-E595-4897-9764-776D85B6B476
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                                                        Tenth Amendment
                                                          to Work Order
                                           under the Delivery Provider Terms of Service

                     This Tenth Amendment to Work Order (this “Tenth Amendment”) is effective as of June 2, 2016,
             and amends that certain Work Order, dated as of September 2, 2015, as amended by the First Amendment
             to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated as of October
             19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth Amendment to
             Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as of February 14,
             2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh Amendment to
             Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of April 22, 2016,
             and the Ninth Amendment to Work Order, dated as of May 11, 2016 (the “Work Order”), by and between
             Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation
             (“Amazon”). All capitalized terms used and not defined in this Tenth Amendment have the respective
             meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the
             Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to time,
             the “Terms”).

                      Amazon and you agree as follows:

                     1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
             and replaced with Schedule B attached hereto.

                     2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
             and replaced with Schedule C attached hereto.

                      3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
             remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
             of this Tenth Amendment and the terms of the Work Order, the terms of this Tenth Amendment will control.

                                                       [Signature Page Follows]




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                                                      Exhibit 12 - page 83                                           1 of 7
                                                                                                                  2525338
DocuSign Envelope ID: 9237266D-E595-4897-9764-776D85B6B476
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
             executed this Tenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name: Hany Elkordy                                     Name: Shahan Ohanessian
               Title: Director, AMZL NA                               Title: CEO
                             June 2, 2016
               Date Signed: ____________________________                           June 2, 2016
                                                                      Date Signed: ____________________________




                                           [Signature Page to Tenth Amendment to Work Order]


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                                                                                                          2525338
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                                                                Schedule B

                                                             Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DLA3 – Commerce, CA

                 5. DLA7 – Site location TBD

                 6. DLA8 – Hawthorne, CA

                 7. DLA9 – Irvine, CA

                 8. DSD1 – San Diego, CA

                 9. DSD2 – Carlsbad, CA

                 10. DSF3 – San Jose, CA

                 11. DSF4 – San Leandro, CA

                 12. DSF5 – San Francisco, CA

                 13. DSF6 – Richmond, CA

                 14. UCA1 – San Francisco, CA

                 15. UCA2 – Redondo Beach, CA

                 16. UCA3 – Los Angeles, CA

                 17. UCA4 – Irvine, CA

                 18. UCA5 – Los Angeles, CA

                 19. UCA6 – San Diego, CA

                 20. UCA8 – Berkeley, CA

                 21. UCA9 – Sacramento, CA

                 22. UIL1 – Chicago, IL

                 23. UNV1 – Las Vegas, NV




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                                                                                                 2525338
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                                                             Schedule C

                                                      Fees Payable by Amazon

             Part I – Prime Now

              Distribution         Duration of           Fees for Services   Uniform and     Total (per
              Point                Planned Route         (per Planned        Vehicle Brand   Planned Route)
                                                         Route)              Promotion Fee
                                                                             (per Planned
                                                                             Route)
              UCA1                 4.5 hours             $102.00             $5.00           $107.00
                                   6.5 hours             $155.50             $5.00           $160.50
                                   8.5 hours             $209.00             $5.00           $214.00
                                   10.5 hours            $262.50             $5.00           $267.50
              UCA2, UCA3,          4.5 hours             $86.04              $5.00           $91.04
              UCA4, UCA5,          6.5 hours             $131.56             $5.00           $136.56
              UCA6, and            8.5 hours             $177.08             $5.00           $182.08
              UCA9                 10.5 hours            $222.60             $5.00           $227.60
              UCA8                 4.5 hours             $97.60              $5.00           $102.60
                                   6.5 hours             $148.90             $5.00           $153.90
                                   8.5 hours             $200.20             $5.00           $205.20
                                   10.5 hours            $251.50             $5.00           $256.50
              UIL1                 4.5 hours             $88.56              $5.00           $93.56
                                   5.5 hours             $111.95             $5.00           $116.95
                                   6.5 hours             $135.34             $5.00           $140.34
                                   8.5 hours             $182.12             $5.00           $187.12
                                   9.5 hours             $205.51             $5.00           $210.51
                                   10.5 hours            $228.90             $5.00           $233.90
              UNV1                 4.5 hours             $73.00              $5.00           $78.00
                                   6.5 hours             $112.00             $5.00           $117.00
                                   8.5 hours             $151.00             $5.00           $156.00
                                   10.5 hours            $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point    Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DLA3                  5.5 hours       $174.40                $5.00                 $1,500.00             See below.
                            6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00
      DSF3                  5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                            6.5 hours       $219.00                $5.00
                            7.5 hours       $235.00                $5.00
                            8.5 hours       $263.80                $5.00
                            9.5 hours       $289.40                $5.00
                            10.5 hours      $315.00                $5.00
      DSF4 and DSF5         5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $222.50                $5.00
                            7.5 hours       $238.75                $5.00
                            8.5 hours       $268.00                $5.00
                            9.5 hours       $294.00                $5.00
                            10.5 hours      $320.00                $5.00
      DSF6                  5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                            6.5 hours       $212.00                $5.00
                            7.5 hours       $227.50                $5.00
                            8.5 hours       $255.40                $5.00
                            9.5 hours       $280.20                $5.00
                            10.5 hours      $305.00                $5.00




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             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

             5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
                to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
                arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
                circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
                hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
                DLA3 and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour at DSD1 and DSD2,
                (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

             6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
                experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
                will pay you (a) $194.35 per Training Route at DLA3, DLA7, DLA8, and DLA9, (b) $179.01 per
                Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d) $214.67 per Training
                Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




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                         EXHIBIT 13

                             Exhibit 13 - page 90
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                                                    EleventhAmendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Eleventh Amendment to Work Order (this “Eleventh Amendment”) is effective as of July 26,
            2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, and the Tenth Amendment
            to Work Order, dated as of June 2, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Eleventh Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eleventh Amendment and the terms of the Work Order, the terms of this Eleventh Amendment will
            control.

                                                     [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eleventh Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:     Hany Elkordy                                Name: Shahan Ohanessian
               Title:   Director, AMZL NA                            Title:   CEO
                              July 28, 2016
               Date Signed: ____________________________                           July 28, 2016
                                                                     Date Signed: ____________________________




                                        [Signature Page to Eleventh Amendment to Work Order]


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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DLA1 – Inglewood, CA

                5. DLA2 – Buena Park, CA

                6. DLA3 – Commerce, CA

                7. DLA4 – Los Angeles, CA

                8. DLA7 – Site location TBD

                9. DLA8 – Hawthorne, CA

                10. DLA9 – Irvine, CA

                11. DSD1 – San Diego, CA

                12. DSD2 – Carlsbad, CA

                13. DSF3 – San Jose, CA

                14. DSF4 – San Leandro, CA

                15. DSF5 – San Francisco, CA

                16. DSF6 – Richmond, CA

                17. UCA1 – San Francisco, CA

                18. UCA2 – Redondo Beach, CA

                19. UCA3 – Los Angeles, CA

                20. UCA4 – Irvine, CA

                21. UCA5 – Los Angeles, CA

                22. UCA6 – San Diego, CA

                23. UCA8 – Berkeley, CA

                24. UCA9 – Sacramento, CA



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                25. UIL1 – Chicago, IL

                26. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution        Duration of          Fees for Services   Uniform and     Total (per
              Point               Planned Route        (per Planned        Vehicle Brand   Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $102.00             $5.00           $107.00
                                  6.5 hours            $155.50             $5.00           $160.50
                                  8.5 hours            $209.00             $5.00           $214.00
                                  10.5 hours           $262.50             $5.00           $267.50
              UCA2, UCA3,         4.5 hours            $86.04              $5.00           $91.04
              UCA4, UCA5,         6.5 hours            $131.56             $5.00           $136.56
              UCA6, and           8.5 hours            $177.08             $5.00           $182.08
              UCA9                10.5 hours           $222.60             $5.00           $227.60
              UCA8                4.5 hours            $97.60              $5.00           $102.60
                                  6.5 hours            $148.90             $5.00           $153.90
                                  8.5 hours            $200.20             $5.00           $205.20
                                  10.5 hours           $251.50             $5.00           $256.50
              UIL1                4.5 hours            $88.56              $5.00           $93.56
                                  5.5 hours            $111.95             $5.00           $116.95
                                  6.5 hours            $135.34             $5.00           $140.34
                                  8.5 hours            $182.12             $5.00           $187.12
                                  9.5 hours            $205.51             $5.00           $210.51
                                  10.5 hours           $228.90             $5.00           $233.90
              UNV1                4.5 hours            $73.00              $5.00           $78.00
                                  6.5 hours            $112.00             $5.00           $117.00
                                  8.5 hours            $151.00             $5.00           $156.00
                                  10.5 hours           $190.00             $5.00           $195.00




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     Part II – Parcel

      Distribution Point    Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DLA1, DLA2,           5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4        6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00
      DSF3                  5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                            6.5 hours       $219.00                $5.00
                            7.5 hours       $235.00                $5.00
                            8.5 hours       $263.80                $5.00
                            9.5 hours       $289.40                $5.00
                            10.5 hours      $315.00                $5.00
      DSF4 and DSF5         5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $222.50                $5.00
                            7.5 hours       $238.75                $5.00
                            8.5 hours       $268.00                $5.00
                            9.5 hours       $294.00                $5.00
                            10.5 hours      $320.00                $5.00
      DSF6                  5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                            6.5 hours       $212.00                $5.00
                            7.5 hours       $227.50                $5.00
                            8.5 hours       $255.40                $5.00
                            9.5 hours       $280.20                $5.00
                            10.5 hours      $305.00                $5.00




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                         EXHIBIT 14

                             Exhibit 14 - page 99
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                                                    Twelfth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                    This Twelfth Amendment to Work Order (this “Twelfth Amendment”) is effective as of August
            14, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, and the Eleventh Amendment to Work Order, dated as of July 26,
            2016 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon
            Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined in this
            Twelfth Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms
            of Service to which you agreed on the Delivery Provider Platform (as the same may be amended, modified,
            or supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Twelfth Amendment and the terms of the Work Order, the terms of this Twelfth Amendment will
            control.

                                                     [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Twelfth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name:      Hany Elkordy                               Name: Shahan Ohanessian
              Title:   Director, AMZL NA                            Title:   CEO
                           August 13, 2016
              Date Signed: ____________________________                           August 13, 2016
                                                                    Date Signed: ____________________________




                                        [Signature Page to Twelfth Amendment to Work Order]


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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

             Distribution         Duration of         Fees for Services   Uniform and           Total (per
             Point                Planned Route       (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1                 4.5 hours           $102.00             $5.00                 $107.00
                                  6.5 hours           $155.50             $5.00                 $160.50
                                  8.5 hours           $209.00             $5.00                 $214.00
                                  10.5 hours          $262.50             $5.00                 $267.50
             UCA2, UCA3,          4.5 hours           $86.04              $5.00                 $91.04
             UCA4, UCA5,          6.5 hours           $131.56             $5.00                 $136.56
             UCA6, and            8.5 hours           $177.08             $5.00                 $182.08
             UCA9                 10.5 hours          $222.60             $5.00                 $227.60
             UCA8                 4.5 hours           $97.60              $5.00                 $102.60
                                  6.5 hours           $148.90             $5.00                 $153.90
                                  8.5 hours           $200.20             $5.00                 $205.20
                                  10.5 hours          $251.50             $5.00                 $256.50
             UIL1                 4.5 hours           $88.56              $5.00                 $93.56
                                  5.5 hours           $111.95             $5.00                 $116.95
                                  6.5 hours           $135.34             $5.00                 $140.34
                                  8.5 hours           $182.12             $5.00                 $187.12
                                  9.5 hours           $205.51             $5.00                 $210.51
                                  10.5 hours          $228.90             $5.00                 $233.90
             UNV1                 4.5 hours           $73.00              $5.00                 $78.00
                                  6.5 hours           $112.00             $5.00                 $117.00
                                  8.5 hours           $151.00             $5.00                 $156.00
                                  10.5 hours          $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point    Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DLA1, DLA2,           5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4        6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00
      DSF3                  5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                            6.5 hours       $219.00                $5.00
                            7.5 hours       $235.00                $5.00
                            8.5 hours       $263.80                $5.00
                            9.5 hours       $289.40                $5.00
                            10.5 hours      $315.00                $5.00
      DSF4 and DSF5         5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $222.50                $5.00
                            7.5 hours       $238.75                $5.00
                            8.5 hours       $268.00                $5.00
                            9.5 hours       $294.00                $5.00
                            10.5 hours      $320.00                $5.00
      DSF6                  5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                            6.5 hours       $212.00                $5.00
                            7.5 hours       $227.50                $5.00
                            8.5 hours       $255.40                $5.00
                            9.5 hours       $280.20                $5.00
                            10.5 hours      $305.00                $5.00




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $31.00 per hour at DCH1, DCH2, DCH3, and DSF6, (b) $27.60 per hour at
               DLA1, DLA2, DLA3, DLA4, and DLA7, (c) $28.70 per hour at DLA8 and DLA9, (d) $27.80 per hour
               at DSD1 and DSD2, (e) $32.00 per hour at DSF3, and (f) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $194.35 per Training Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9,
               (b) $179.01 per Training Route at DSD1 and DSD2, (c) $210.64 per Training Route at DSF3, (d)
               $214.67 per Training Route at DSF4 and DSF5, and (e) $207.91 per Training Route at DSF6.



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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




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                          EXHIBIT 15

                            Exhibit 15 - page 106
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                                                    Thirteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Thirteenth Amendment to Work Order (this “Thirteenth Amendment”) is effective as of
            August 28, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by the
            First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order,
            dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the
            Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, and the Twelfth Amendment to Work Order, dated as of August 14, 2016 (the “Work
            Order”), by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a
            Delaware corporation (“Amazon”). All capitalized terms used and not defined in this Thirteenth
            Amendment have the respective meanings assigned to such terms in the Delivery Provider Terms of Service
            to which you agreed on the Delivery Provider Platform (as the same may be amended, modified, or
            supplemented from time to time, the “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Thirteenth Amendment and the terms of the Work Order, the terms of this Thirteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Thirteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:    Hany Elkordy                                 Name:     Shahan Ohanessian

               Title: Director, AMZL NA                              Title:   CEO
                             August 20, 2016
               Date Signed: ____________________________             Date Signed: August 20, 2016
                                                                                  ____________________________




                                       [Signature Page to Thirteenth Amendment to Work Order]


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                                                             Schedule B

                                                        Distribution Points

                1. DCH1 – Alsip, IL

                2. DCH2 – Chicago, IL

                3. DCH3 – Lisle, IL

                4. DDA1 – Farmers Branch, TX

                5. DDA2 – Garland, TX

                6. DDA3 – Ft. Worth, TX

                7. DLA1 – Inglewood, CA

                8. DLA2 – Buena Park, CA

                9. DLA3 – Commerce, CA

                10. DLA4 – Los Angeles, CA

                11. DLA7 – Site location TBD

                12. DLA8 – Hawthorne, CA

                13. DLA9 – Irvine, CA

                14. DMI1 – Miami, FL

                15. DMI2 – Miami Gardens, FL

                16. DMI3 – Miami, FL

                17. DSD1 – San Diego, CA

                18. DSD2 – Carlsbad, CA

                19. DSF3 – San Jose, CA

                20. DSF4 – San Leandro, CA

                21. DSF5 – San Francisco, CA

                22. DSF6 – Richmond, CA

                23. UCA1 – San Francisco, CA

                24. UCA2 – Redondo Beach, CA



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                25. UCA3 – Los Angeles, CA

                26. UCA4 – Irvine, CA

                27. UCA5 – Los Angeles, CA

                28. UCA6 – San Diego, CA

                29. UCA8 – Berkeley, CA

                30. UCA9 – Sacramento, CA

                31. UIL1 – Chicago, IL

                32. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution        Duration of          Fees for Services   Uniform and          Total (per
              Point               Planned Route        (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $102.00             $5.00                $107.00
                                  6.5 hours            $155.50             $5.00                $160.50
                                  8.5 hours            $209.00             $5.00                $214.00
                                  10.5 hours           $262.50             $5.00                $267.50
              UCA2, UCA3,         4.5 hours            $86.04              $5.00                $91.04
              UCA4, UCA5,         6.5 hours            $131.56             $5.00                $136.56
              UCA6, and           8.5 hours            $177.08             $5.00                $182.08
              UCA9                10.5 hours           $222.60             $5.00                $227.60
              UCA8                4.5 hours            $97.60              $5.00                $102.60
                                  6.5 hours            $148.90             $5.00                $153.90
                                  8.5 hours            $200.20             $5.00                $205.20
                                  10.5 hours           $251.50             $5.00                $256.50
              UIL1                4.5 hours            $88.56              $5.00                $93.56
                                  5.5 hours            $111.95             $5.00                $116.95
                                  6.5 hours            $135.34             $5.00                $140.34
                                  8.5 hours            $182.12             $5.00                $187.12
                                  9.5 hours            $205.51             $5.00                $210.51
                                  10.5 hours           $228.90             $5.00                $233.90
              UNV1                4.5 hours            $73.00              $5.00                $78.00
                                  6.5 hours            $112.00             $5.00                $117.00
                                  8.5 hours            $151.00             $5.00                $156.00
                                  10.5 hours           $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point    Duration of     Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            Planned Route   Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                                                                   (per Planned Route)   Distribution Point)
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DDA1, DDA2,           5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3              6.5 hours       $184.00                $5.00
                            7.5 hours       $194.50                $5.00
                            8.5 hours       $220.00                $5.00
                            9.5 hours       $244.00                $5.00
                            10.5 hours      $251.10                $5.00
      DLA1, DLA2,           5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4        6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
      DMI1                  5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                            6.5 hours       $202.55                $5.00
                            7.5 hours       $220.39                $5.00
                            8.5 hours       $233.83                $5.00
                            9.5 hours       $239.98                $5.00
                            10.5 hours      $249.98                $5.00
      DMI2 and DMI3         5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                            6.5 hours       $181.29                $5.00
                            7.5 hours       $193.12                $5.00
                            8.5 hours       $211.92                $5.00
                            9.5 hours       $230.79                $5.00
                            10.5 hours      $248.25                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00




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      DSF3                  5.5 hours      $203.00                $5.00                   $1,500.00           See below.
                            6.5 hours      $219.00                $5.00
                            7.5 hours      $235.00                $5.00
                            8.5 hours      $263.80                $5.00
                            9.5 hours      $289.40                $5.00
                            10.5 hours     $315.00                $5.00
      DSF4 and DSF5         5.5 hours      $206.25                $5.00                   $1,500.00           See below.
                            6.5 hours      $222.50                $5.00
                            7.5 hours      $238.75                $5.00
                            8.5 hours      $268.00                $5.00
                            9.5 hours      $294.00                $5.00
                            10.5 hours     $320.00                $5.00
      DSF6                  5.5 hours      $196.50                $5.00                   $1,500.00           See below.
                            6.5 hours      $212.00                $5.00
                            7.5 hours      $227.50                $5.00
                            8.5 hours      $255.40                $5.00
                            9.5 hours      $280.20                $5.00
                            10.5 hours     $305.00                $5.00

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a
                dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

             4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
                Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
                otherwise interacting with customers will wear a uniform that complies with the specifications set forth
                on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
                Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
                specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
                time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and



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                insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
                receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
                notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, and (h) $32.50 per hour at DSF4 and DSF5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, and (g) $207.91 per Training Route
               at DSF6.




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                                              Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                           Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To               Dollars per Mile
                                     $1.20              $1.32                  $0.11
                                     $1.33              $1.45                  $0.12
                                     $1.46              $1.58                  $0.13
                                     $1.59              $1.71                  $0.14
                                     $1.72              $1.84                  $0.15
                                     $1.85              $1.97                  $0.16
                                     $1.98              $2.10                  $0.17
                                     $2.11              $2.23                  $0.18
                                     $2.24              $2.36                  $0.19
                                     $2.37              $2.49                  $0.20
                                     $2.50              $2.62                  $0.21
                                     $2.63              $2.75                  $0.22
                                     $2.76              $2.88                  $0.23
                                     $2.89              $3.01                  $0.24
                                     $3.02              $3.14                  $0.25
                                     $3.15              $3.27                  $0.26
                                     $3.28              $3.40                  $0.27
                                     $3.41              $3.53                  $0.28
                                     $3.54              $3.66                  $0.29
                                     $3.67              $3.79                  $0.30
                                     $3.80              $3.92                  $0.31
                                     $3.93              $4.05                  $0.32
                                     $4.06              $4.18                  $0.33
                                     $4.19              $4.31                  $0.34
                                     $4.32              $4.44                  $0.35
                                     $4.45              $4.57                  $0.36
                                     $4.58              $4.70                  $0.37
                                     $4.71              $4.83                  $0.38
                                     $4.84              $4.96                  $0.39
                                     $4.97              $5.09                  $0.40
                                     $5.10              $5.22                  $0.41
                                     $5.23              $5.35                  $0.42
                                     $5.36              $5.48                  $0.43
                                     $5.49              $5.61                  $0.44
                                     $5.62              $5.74                  $0.45
                                     $5.75              $5.87                  $0.46
                                     $5.88              $6.00                  $0.47




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                          EXHIBIT 16

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                                                    Fourteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Fourteenth Amendment to Work Order (this “Fourteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
            the Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, the Twelfth Amendment to Work Order, dated as of August 14, 2016, and the Thirteenth
            Amendment to Work Order, dated as of August 28, 2016 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Fourteenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).

                     Amazon and you agree as follows:

                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fourteenth Amendment and the terms of the Work Order, the terms of this Fourteenth Amendment
            will control.

                                                      [Signature Page Follows]




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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fourteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:    Hany Elkordy                                 Name: Shahan Ohanessian
               Title:   Director, AMZL NA                            Title:   CEO

                             September 11, 2016
               Date Signed: ____________________________                            September 11, 2016
                                                                     Date Signed: ____________________________




                                       [Signature Page to Fourteenth Amendment to Work Order]


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                                                             Schedule B

                                                        Distribution Points

                 1. DCH1 – Alsip, IL

                 2. DCH2 – Chicago, IL

                 3. DCH3 – Lisle, IL

                 4. DDA1 – Farmers Branch, TX

                 5. DDA2 – Garland, TX

                 6. DDA3 – Ft. Worth, TX

                 7. DLA1 – Inglewood, CA

                 8. DLA2 – Buena Park, CA

                 9. DLA3 – Commerce, CA

                 10. DLA4 – Los Angeles, CA

                 11. DLA7 – Site location TBD

                 12. DLA8 – Hawthorne, CA

                 13. DLA9 – Irvine, CA

                 14. DMI1 – Miami, FL

                 15. DMI2 – Miami Gardens, FL

                 16. DMI3 – Miami, FL

                 17. DSD1 – San Diego, CA

                 18. DSD2 – Carlsbad, CA

                 19. DSF3 – San Jose, CA

                 20. DSF4 – San Leandro, CA

                 21. DSF5 – San Francisco, CA

                 22. DSF6 – Richmond, CA

                 23. SAT5 – San Antonio, TX

                 24. UCA1 – San Francisco, CA



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                 25. UCA2 – Redondo Beach, CA

                 26. UCA3 – Los Angeles, CA

                 27. UCA4 – Irvine, CA

                 28. UCA5 – Los Angeles, CA

                 29. UCA6 – San Diego, CA

                 30. UCA8 – Berkeley, CA

                 31. UCA9 – Sacramento, CA

                 32. UIL1 – Chicago, IL

                 33. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution        Duration of          Fees for Services   Uniform and          Total (per
              Point               Planned Route        (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $102.00             $5.00                $107.00
                                  6.5 hours            $155.50             $5.00                $160.50
                                  8.5 hours            $209.00             $5.00                $214.00
                                  10.5 hours           $262.50             $5.00                $267.50
              UCA2, UCA3,         4.5 hours            $86.04              $5.00                $91.04
              UCA4, UCA5,         6.5 hours            $131.56             $5.00                $136.56
              UCA6, and           8.5 hours            $177.08             $5.00                $182.08
              UCA9                10.5 hours           $222.60             $5.00                $227.60
              UCA8                4.5 hours            $97.60              $5.00                $102.60
                                  6.5 hours            $148.90             $5.00                $153.90
                                  8.5 hours            $200.20             $5.00                $205.20
                                  10.5 hours           $251.50             $5.00                $256.50
              UIL1                4.5 hours            $88.56              $5.00                $93.56
                                  5.5 hours            $111.95             $5.00                $116.95
                                  6.5 hours            $135.34             $5.00                $140.34
                                  8.5 hours            $182.12             $5.00                $187.12
                                  9.5 hours            $205.51             $5.00                $210.51
                                  10.5 hours           $228.90             $5.00                $233.90
              UNV1                4.5 hours            $73.00              $5.00                $78.00
                                  6.5 hours            $112.00             $5.00                $117.00
                                  8.5 hours            $151.00             $5.00                $156.00
                                  10.5 hours           $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $2.50 per delivery for Amazon Fresh deliveries only.




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     Part II – Parcel

      Distribution Point    Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                            Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DDA1, DDA2,           5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3              6.5 hours       $184.00                $5.00
                            7.5 hours       $194.50                $5.00
                            8.5 hours       $220.00                $5.00
                            9.5 hours       $244.00                $5.00
                            10.5 hours      $251.10                $5.00
      DLA1, DLA2,           5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4        6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
      DMI1                  5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                            6.5 hours       $202.55                $5.00
                            7.5 hours       $220.39                $5.00
                            8.5 hours       $233.83                $5.00
                            9.5 hours       $239.98                $5.00
                            10.5 hours      $249.98                $5.00
      DMI2 and DMI3         5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                            6.5 hours       $181.29                $5.00
                            7.5 hours       $193.12                $5.00
                            8.5 hours       $211.92                $5.00
                            9.5 hours       $230.79                $5.00
                            10.5 hours      $248.25                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00




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      Distribution Point    Duration/Type   Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                            of Planned      Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                            Route                                  (per Planned Route)    Distribution Point)
      DSF3                  5.5 hours       $203.00                $5.00                  $1,500.00             See below.
                            6.5 hours       $219.00                $5.00
                            7.5 hours       $235.00                $5.00
                            8.5 hours       $263.80                $5.00
                            9.5 hours       $289.40                $5.00
                            10.5 hours      $315.00                $5.00
      DSF4 and DSF5         5.5 hours       $206.25                $5.00                  $1,500.00             See below.
                            6.5 hours       $222.50                $5.00
                            7.5 hours       $238.75                $5.00
                            8.5 hours       $268.00                $5.00
                            9.5 hours       $294.00                $5.00
                            10.5 hours      $320.00                $5.00
      DSF6                  5.5 hours       $196.50                $5.00                  $1,500.00             See below.
                            6.5 hours       $212.00                $5.00
                            7.5 hours       $227.50                $5.00
                            8.5 hours       $255.40                $5.00
                            9.5 hours       $280.20                $5.00
                            10.5 hours      $305.00                $5.00
      SAT5                  5.5 hours       $164.06                $5.00                  $1,450.00             See below.
                            6.5 hours       $184.15                $5.00
                            7.5 hours       $195.60                $5.00
                            8.5 hours       $211.19                $5.00
                            9.5 hours       $230.12                $5.00
                            10.5 hours      $252.51                $5.00
                            Helper (if      $135.32                N/A
                            applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

             3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
                dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
                Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
                Fee set forth above on a weekly basis for each calendar week during which you actually provide a




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                 dispatcher in connection with performing Services. If, for any given calendar week, the daily average
                 number of Planned Routes that you perform from a specific Distribution Point is greater than 30
                 Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                          EXHIBIT 17

                            Exhibit 17 - page 126
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                                                    Fifteenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Fifteenth Amendment to Work Order (this “Fifteenth Amendment”) is effective as of
            September 18, 2016, and amends that certain Work Order, dated as of September 2, 2015, as amended by
            the First Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work
            Order, dated as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015,
            the Fourth Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order,
            dated as of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the
            Seventh Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order,
            dated as of April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth
            Amendment to Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as
            of July 26, 2016, the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth
            Amendment to Work Order, dated as of August 28, 2016, and the Fourteenth Amendment to Work Order,
            dated as of September 18, 2016 (the “Work Order”), by and between Scoobeez, Inc., a California
            corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms
            used and not defined in this Fifteenth Amendment have the respective meanings assigned to such terms in
            the Delivery Provider Terms of Service to which you agreed on the Delivery Provider Platform (as the same
            may be amended, modified, or supplemented from time to time, the “Terms”).

                    Amazon and you agree as follows:

                    1.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     2.       No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Fifteenth Amendment and the terms of the Work Order, the terms of this Fifteenth Amendment will
            control.

                                                     [Signature Page Follows]




                                                   Exhibit 17 - page 127
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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Fifteenth Amendment.

              Amazon Logistics, Inc.                                Scoobeez, Inc.


              By:                                                   By:
              Name: Shahan Ohanessian                               Name:    Hany Elkordy

              Title: CEO                                            Title:   Director, AMZL NA
                             September 16, 2016
              Date Signed: ____________________________                           September 16, 2016
                                                                    Date Signed: ____________________________




                                       [Signature Page to Fifteenth Amendment to Work Order]



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                                                             Schedule C

                                                   Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of          Fees for Services    Uniform and           Total (per
             Point              Planned Route        (per Planned         Vehicle Brand         Planned Route)
                                                     Route)               Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours            $102.00              $5.00                 $107.00
                                6.5 hours            $155.50              $5.00                 $160.50
                                8.5 hours            $209.00              $5.00                 $214.00
                                10.5 hours           $262.50              $5.00                 $267.50
             UCA2, UCA3,        4.5 hours            $86.04               $5.00                 $91.04
             UCA4, UCA5,        6.5 hours            $131.56              $5.00                 $136.56
             UCA6, and          8.5 hours            $177.08              $5.00                 $182.08
             UCA9               10.5 hours           $222.60              $5.00                 $227.60
             UCA8               4.5 hours            $97.60               $5.00                 $102.60
                                6.5 hours            $148.90              $5.00                 $153.90
                                8.5 hours            $200.20              $5.00                 $205.20
                                10.5 hours           $251.50              $5.00                 $256.50
             UIL1               4.5 hours            $88.56               $5.00                 $93.56
                                5.5 hours            $111.95              $5.00                 $116.95
                                6.5 hours            $135.34              $5.00                 $140.34
                                8.5 hours            $182.12              $5.00                 $187.12
                                9.5 hours            $205.51              $5.00                 $210.51
                                10.5 hours           $228.90              $5.00                 $233.90
             UNV1               4.5 hours            $73.00               $5.00                 $78.00
                                6.5 hours            $112.00              $5.00                 $117.00
                                8.5 hours            $151.00              $5.00                 $156.00
                                10.5 hours           $190.00              $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel

      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                           Route                                  (per Planned Route)   Distribution Point)
      DCH1, DCH2,          5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3             6.5 hours       $210.00                $5.00
                           7.5 hours       $230.00                $5.00
                           8.5 hours       $250.00                $5.00
                           9.5 hours       $271.00                $5.00
                           10.5 hours      $294.00                $5.00
      DDA1, DDA2,          5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3             6.5 hours       $184.00                $5.00
                           7.5 hours       $194.50                $5.00
                           8.5 hours       $220.00                $5.00
                           9.5 hours       $244.00                $5.00
                           10.5 hours      $251.10                $5.00
      DLA1, DLA2,          5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4       6.5 hours       $188.20                $5.00
                           7.5 hours       $202.00                $5.00
                           8.5 hours       $226.84                $5.00
                           9.5 hours       $248.92                $5.00
                           10.5 hours      $271.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA7                 5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                           6.5 hours       $194.50                $5.00
                           7.5 hours       $208.75                $5.00
                           8.5 hours       $234.40                $5.00
                           9.5 hours       $257.20                $5.00
                           10.5 hours      $280.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DLA8 and DLA9        5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                           6.5 hours       $195.90                $5.00
                           7.5 hours       $210.25                $5.00
                           8.5 hours       $236.08                $5.00
                           9.5 hours       $259.04                $5.00
                           10.5 hours      $282.00                $5.00
                           Same Day        Your Vehicle:          $5.00
                           Planned Route   $222.00
                           (7 hours)
                                           Delivery Associate
                                           Personal Vehicle:
                                           $205.00
      DMI1                 5.5 hours       $197.12                $5.00                 $1,450.00             See below.




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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle     Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee     calendar week per     Allowance
                           Route                                  (per Planned Route)     Distribution Point)
                           6.5 hours       $202.55                $5.00
                           7.5 hours       $220.39                $5.00
                           8.5 hours       $233.83                $5.00
                           9.5 hours       $239.98                $5.00
                           10.5 hours      $249.98                $5.00
      DMI2 and DMI3        5.5 hours       $169.79                $5.00                   $1,450.00             See below.
                           6.5 hours       $181.29                $5.00
                           7.5 hours       $193.12                $5.00
                           8.5 hours       $211.92                $5.00
                           9.5 hours       $230.79                $5.00
                           10.5 hours      $248.25                $5.00
      DSD1 and DSD2        5.5 hours       $175.70                $5.00                   $1,400.00             See below.
                           6.5 hours       $189.60                $5.00
                           7.5 hours       $203.50                $5.00
                           8.5 hours       $228.52                $5.00
                           9.5 hours       $250.76                $5.00
                           10.5 hours      $273.00                $5.00
      DSF3                 5.5 hours       $203.00                $5.00                   $1,500.00             See below.
                           6.5 hours       $219.00                $5.00
                           7.5 hours       $235.00                $5.00
                           8.5 hours       $263.80                $5.00
                           9.5 hours       $289.40                $5.00
                           10.5 hours      $315.00                $5.00
      DSF4 and DSF5        5.5 hours       $206.25                $5.00                   $1,500.00             See below.
                           6.5 hours       $222.50                $5.00
                           7.5 hours       $238.75                $5.00
                           8.5 hours       $268.00                $5.00
                           9.5 hours       $294.00                $5.00
                           10.5 hours      $320.00                $5.00
      DSF6                 5.5 hours       $196.50                $5.00                   $1,500.00             See below.
                           6.5 hours       $212.00                $5.00
                           7.5 hours       $227.50                $5.00
                           8.5 hours       $255.40                $5.00
                           9.5 hours       $280.20                $5.00
                           10.5 hours      $305.00                $5.00
      SAT5                 5.5 hours       $164.06                $5.00                   $1,450.00             See below.
                           6.5 hours       $184.15                $5.00
                           7.5 hours       $195.60                $5.00
                           8.5 hours       $211.19                $5.00
                           9.5 hours       $230.12                $5.00
                           10.5 hours      $252.51                $5.00
                           Helper (if      $135.32                N/A
                           applicable)

             1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
                Planned Route that is actually performed by you.

             2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
                corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
                C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.




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                For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA       prices     used      to     calculate    the    Fuel      Allowance       can    be     found
                at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, and (i) $28.00
               per hour at SAT5.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, and (h) $161.56 per Training Route at SAT5.




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                                            Attachment 1 to Part II of Schedule C

                                          Index Price
                                                                         Fuel Allowance
                                      (Dollars per Gallon)
                                    From                To              Dollars per Mile
                                    $1.20              $1.32                 $0.11
                                    $1.33              $1.45                 $0.12
                                    $1.46              $1.58                 $0.13
                                    $1.59              $1.71                 $0.14
                                    $1.72              $1.84                 $0.15
                                    $1.85              $1.97                 $0.16
                                    $1.98              $2.10                 $0.17
                                    $2.11              $2.23                 $0.18
                                    $2.24              $2.36                 $0.19
                                    $2.37              $2.49                 $0.20
                                    $2.50              $2.62                 $0.21
                                    $2.63              $2.75                 $0.22
                                    $2.76              $2.88                 $0.23
                                    $2.89              $3.01                 $0.24
                                    $3.02              $3.14                 $0.25
                                    $3.15              $3.27                 $0.26
                                    $3.28              $3.40                 $0.27
                                    $3.41              $3.53                 $0.28
                                    $3.54              $3.66                 $0.29
                                    $3.67              $3.79                 $0.30
                                    $3.80              $3.92                 $0.31
                                    $3.93              $4.05                 $0.32
                                    $4.06              $4.18                 $0.33
                                    $4.19              $4.31                 $0.34
                                    $4.32              $4.44                 $0.35
                                    $4.45              $4.57                 $0.36
                                    $4.58              $4.70                 $0.37
                                    $4.71              $4.83                 $0.38
                                    $4.84              $4.96                 $0.39
                                    $4.97              $5.09                 $0.40
                                    $5.10              $5.22                 $0.41
                                    $5.23              $5.35                 $0.42
                                    $5.36              $5.48                 $0.43
                                    $5.49              $5.61                 $0.44
                                    $5.62              $5.74                 $0.45
                                    $5.75              $5.87                 $0.46
                                    $5.88              $6.00                 $0.47




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                          EXHIBIT 18

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                                                     Sixteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                    This Sixteenth Amendment to Work Order (this “Sixteenth Amendment”) is effective as of January
            1, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, and the Fifteenth Amendment to Work Order, dated as of September 18, 2016 (the “Work Order”),
            by and between Scoobeez, Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware
            corporation (“Amazon”). All capitalized terms used and not defined in this Sixteenth Amendment have the
            respective meanings assigned to such terms in the Delivery Provider Terms of Service to which you agreed
            on the Delivery Provider Platform (as the same may be amended, modified, or supplemented from time to
            time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Sixteenth Amendment and the terms of the Work Order, the terms of this Sixteenth Amendment will
            control.

                                                      [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Sixteenth Amendment.

               Amazon Logistics, Inc.                                Scoobeez, Inc.


               By:                                                   By:
               Name:    Penny Register-Shaw                          Name: Shahan Ohanessian
               Title: Director Contractor Relations                  Title:   CEO
                             January 17, 2017
               Date Signed: ____________________________                           January 17, 2017
                                                                     Date Signed: ____________________________




                                        [Signature Page to Sixteenth Amendment to Work Order]


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                                                             Schedule B

                                                        Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSF3 – San Jose, CA

                 21. DSF4 – San Leandro, CA

                 22. DSF5 – San Francisco, CA

                 23. DSF6 – Richmond, CA

                 24. SAT5 – San Antonio, TX



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                 25. UCA1 – San Francisco, CA

                 26. UCA2 – Redondo Beach, CA

                 27. UCA3 – Los Angeles, CA

                 28. UCA4 – Irvine, CA

                 29. UCA5 – Los Angeles, CA

                 30. UCA6 – San Diego, CA

                 31. UCA8 – Berkeley, CA

                 32. UCA9 – Sacramento, CA

                 33. UIL1 – Chicago, IL

                 34. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                     Fees Payable by Amazon

            Part I – Prime Now

              Distribution        Duration of          Fees for Services   Uniform and          Total (per
              Point               Planned Route        (per Planned        Vehicle Brand        Planned Route)
                                                       Route)              Promotion Fee
                                                                           (per Planned
                                                                           Route)
              UCA1                4.5 hours            $102.00             $5.00                $107.00
                                  6.5 hours            $155.50             $5.00                $160.50
                                  8.5 hours            $209.00             $5.00                $214.00
                                  10.5 hours           $262.50             $5.00                $267.50
              UCA2, UCA3,         4.5 hours            $86.04              $5.00                $91.04
              and UCA5            6.5 hours            $131.56             $5.00                $136.56
                                  8.5 hours            $177.08             $5.00                $182.08
                                  10.5 hours           $222.60             $5.00                $227.60
              UCA4, UCA6,         2 hours              $43.70              $5.00                $48.70
              and UCA9            4 hours              $92.40              $5.00                $97.40
                                  6 hours              $141.10             $5.00                $146.10
                                  8 hours              $189.80             $5.00                $194.80
                                  9 hours              $214.15             $5.00                $219.15
                                  10 hours             $238.50             $5.00                $243.50
              UCA8                4.5 hours            $97.60              $5.00                $102.60
                                  6.5 hours            $148.90             $5.00                $153.90
                                  8.5 hours            $200.20             $5.00                $205.20
                                  10.5 hours           $251.50             $5.00                $256.50
              UIL1                4.5 hours            $88.56              $5.00                $93.56
                                  5.5 hours            $111.95             $5.00                $116.95
                                  6.5 hours            $135.34             $5.00                $140.34
                                  8.5 hours            $182.12             $5.00                $187.12
                                  9.5 hours            $205.51             $5.00                $210.51
                                  10.5 hours           $228.90             $5.00                $233.90
              UNV1                4.5 hours            $73.00              $5.00                $78.00
                                  6.5 hours            $112.00             $5.00                $117.00
                                  8.5 hours            $151.00             $5.00                $156.00
                                  10.5 hours           $190.00             $5.00                $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel

      Distribution Point    Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                            Route                                  (per Planned Route)   Distribution Point)
      DAU1                  5.5 hours       $ 177.11               $5.00                 $1,450.00             See below.
                            6.5 hours       $ 184.55               $5.00
                            7.5 hours       $ 196.23               $5.00
                            8.5 hours       $ 216.05               $5.00
                            9.5 hours       $ 235.57               $5.00
                            10.5 hours      $ 279.00               $5.00
                            Same Day                               $5.00
                            Planned Route
                            (6.5 hours)     $ 184.55
      DCH1, DCH2,           5.5 hours       $190.00                $5.00                 $1,400.00             See below.
      and DCH3              6.5 hours       $210.00                $5.00
                            7.5 hours       $230.00                $5.00
                            8.5 hours       $250.00                $5.00
                            9.5 hours       $271.00                $5.00
                            10.5 hours      $294.00                $5.00
      DDA1, DDA2,           5.5 hours       $163.20                $5.00                 $1,450.00             See below.
      and DDA3              6.5 hours       $184.00                $5.00
                            7.5 hours       $194.50                $5.00
                            8.5 hours       $220.00                $5.00
                            9.5 hours       $244.00                $5.00
                            10.5 hours      $251.10                $5.00
      DLA1, DLA2,           5.5 hours       $174.40                $5.00                 $1,500.00             See below.
      DLA3, and DLA4        6.5 hours       $188.20                $5.00
                            7.5 hours       $202.00                $5.00
                            8.5 hours       $226.84                $5.00
                            9.5 hours       $248.92                $5.00
                            10.5 hours      $271.00                $5.00
                            Same Day        Your Vehicle:          $5.00
                            Planned Route   $222.00
                            (7 hours)
                                            Delivery Associate
                                            Personal Vehicle:
                                            $205.00
      DLA7                  5.5 hours       $180.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $194.50                $5.00
                            7.5 hours       $208.75                $5.00
                            8.5 hours       $234.40                $5.00
                            9.5 hours       $257.20                $5.00
                            10.5 hours      $280.00                $5.00
                            Same Day        Your Vehicle:          $5.00
                            Planned Route   $222.00
                            (7 hours)
                                            Delivery Associate
                                            Personal Vehicle:
                                            $205.00
      DLA8 and DLA9         5.5 hours       $181.55                $5.00                 $1,500.00             See below.
                            6.5 hours       $195.90                $5.00
                            7.5 hours       $210.25                $5.00




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      Distribution Point    Duration/Type   Base Route Rate (per   Uniform and Vehicle   Dispatcher Fee (per   Fuel
                            of Planned      Planned Route)         Brand Promotion Fee   calendar week per     Allowance
                            Route                                  (per Planned Route)   Distribution Point)
                            8.5 hours       $236.08                $5.00
                            9.5 hours       $259.04                $5.00
                            10.5 hours      $282.00                $5.00
                            Same Day        Your Vehicle:          $5.00
                            Planned Route   $222.00
                            (7 hours)
                                            Delivery Associate
                                            Personal Vehicle:
                                            $205.00
      DMI1                  5.5 hours       $197.12                $5.00                 $1,450.00             See below.
                            6.5 hours       $202.55                $5.00
                            7.5 hours       $220.39                $5.00
                            8.5 hours       $233.83                $5.00
                            9.5 hours       $239.98                $5.00
                            10.5 hours      $249.98                $5.00
      DMI2 and DMI3         5.5 hours       $169.79                $5.00                 $1,450.00             See below.
                            6.5 hours       $181.29                $5.00
                            7.5 hours       $193.12                $5.00
                            8.5 hours       $211.92                $5.00
                            9.5 hours       $230.79                $5.00
                            10.5 hours      $248.25                $5.00
      DSD1 and DSD2         5.5 hours       $175.70                $5.00                 $1,400.00             See below.
                            6.5 hours       $189.60                $5.00
                            7.5 hours       $203.50                $5.00
                            8.5 hours       $228.52                $5.00
                            9.5 hours       $250.76                $5.00
                            10.5 hours      $273.00                $5.00
      DSF3                  5.5 hours       $203.00                $5.00                 $1,500.00             See below.
                            6.5 hours       $219.00                $5.00
                            7.5 hours       $235.00                $5.00
                            8.5 hours       $263.80                $5.00
                            9.5 hours       $289.40                $5.00
                            10.5 hours      $315.00                $5.00
      DSF4 and DSF5         5.5 hours       $206.25                $5.00                 $1,500.00             See below.
                            6.5 hours       $222.50                $5.00
                            7.5 hours       $238.75                $5.00
                            8.5 hours       $268.00                $5.00
                            9.5 hours       $294.00                $5.00
                            10.5 hours      $320.00                $5.00
      DSF6                  5.5 hours       $196.50                $5.00                 $1,500.00             See below.
                            6.5 hours       $212.00                $5.00
                            7.5 hours       $227.50                $5.00
                            8.5 hours       $255.40                $5.00
                            9.5 hours       $280.20                $5.00
                            10.5 hours      $305.00                $5.00
      SAT5                  5.5 hours       $164.06                $5.00                 $1,450.00             See below.
                            6.5 hours       $184.15                $5.00
                            7.5 hours       $195.60                $5.00
                            8.5 hours       $211.19                $5.00
                            9.5 hours       $230.12                $5.00
                            10.5 hours      $252.51                $5.00



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      Distribution Point   Duration/Type   Base Route Rate (per   Uniform and Vehicle    Dispatcher Fee (per   Fuel
                           of Planned      Planned Route)         Brand Promotion Fee    calendar week per     Allowance
                           Route                                  (per Planned Route)    Distribution Point)
                           Helper (if      $135.32                N/A
                           applicable)

            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA       prices     used      to     calculate    the    Fuel      Allowance       can     be      found
               at http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at




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                 DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
                 hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                              Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                           Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To              Dollars per Mile
                                      $1.20              $1.32                 $0.11
                                      $1.33              $1.45                 $0.12
                                      $1.46              $1.58                 $0.13
                                      $1.59              $1.71                 $0.14
                                      $1.72              $1.84                 $0.15
                                      $1.85              $1.97                 $0.16
                                      $1.98              $2.10                 $0.17
                                      $2.11              $2.23                 $0.18
                                      $2.24              $2.36                 $0.19
                                      $2.37              $2.49                 $0.20
                                      $2.50              $2.62                 $0.21
                                      $2.63              $2.75                 $0.22
                                      $2.76              $2.88                 $0.23
                                      $2.89              $3.01                 $0.24
                                      $3.02              $3.14                 $0.25
                                      $3.15              $3.27                 $0.26
                                      $3.28              $3.40                 $0.27
                                      $3.41              $3.53                 $0.28
                                      $3.54              $3.66                 $0.29
                                      $3.67              $3.79                 $0.30
                                      $3.80              $3.92                 $0.31
                                      $3.93              $4.05                 $0.32
                                      $4.06              $4.18                 $0.33
                                      $4.19              $4.31                 $0.34
                                      $4.32              $4.44                 $0.35
                                      $4.45              $4.57                 $0.36
                                      $4.58              $4.70                 $0.37
                                      $4.71              $4.83                 $0.38
                                      $4.84              $4.96                 $0.39
                                      $4.97              $5.09                 $0.40
                                      $5.10              $5.22                 $0.41
                                      $5.23              $5.35                 $0.42
                                      $5.36              $5.48                 $0.43
                                      $5.49              $5.61                 $0.44
                                      $5.62              $5.74                 $0.45
                                      $5.75              $5.87                 $0.46
                                      $5.88              $6.00                 $0.47




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                          EXHIBIT 19

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                                                   Seventeenth Amendment
                                                        to Work Order
                                         under the Delivery Provider Terms of Service

                     This Seventeenth Amendment to Work Order (this “Seventeenth Amendment”) is effective as of
            April 9, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, and the Sixteenth
            Amendment to Work Order, dated as of January 1, 2017 (the “Work Order”), by and between Scoobeez,
            Inc., a California corporation (“you”) and Amazon Logistics, Inc., a Delaware corporation (“Amazon”).
            All capitalized terms used and not defined in this Seventeenth Amendment have the respective meanings
            assigned to such terms in the Delivery Provider Terms of Service to which you agreed on the Delivery
            Provider Platform (as the same may be amended, modified, or supplemented from time to time, the
            “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Seventeenth Amendment and the terms of the Work Order, the terms of this Seventeenth Amendment
            will control.

                                                     [Signature Page Follows]




            AMAZON CONFIDENTIAL                                                                                    1 of 10
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                            IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Seventeenth Amendment.

               Amazon Logistics, Inc.                               Scoobeez, Inc.


               By:                                                  By:

               Name: Penny Register-Shaw                            Name: Shahan Ohanessian

               Title: Director Contractor Relations                 Title: CEO
                                                                                  April 11, 2017
               Date Signed: April 11, 2017
                            ____________________________            Date Signed: ____________________________




                                      [Signature Page to Seventeenth Amendment to Work Order]


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                                                             Schedule B

                                                       Distribution Points

                1. DAU1 – Austin, TX

                2. DCH1 – Alsip, IL

                3. DCH2 – Chicago, IL

                4. DCH3 – Lisle, IL

                5. DDA1 – Farmers Branch, TX

                6. DDA2 – Garland, TX

                7. DDA3 – Ft. Worth, TX

                8. DLA1 – Inglewood, CA

                9. DLA2 – Buena Park, CA

                10. DLA3 – Commerce, CA

                11. DLA4 – Los Angeles, CA

                12. DLA7 – Site location TBD

                13. DLA8 – Hawthorne, CA

                14. DLA9 – Irvine, CA

                15. DMI1 – Miami, FL

                16. DMI2 – Miami Gardens, FL

                17. DMI3 – Miami, FL

                18. DSD1 – San Diego, CA

                19. DSD2 – Carlsbad, CA

                20. DSF3 – San Jose, CA

                21. DSF4 – San Leandro, CA

                22. DSF5 – San Francisco, CA

                23. DSF6 – Richmond, CA

                24. SAT5 – San Antonio, TX



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                25. UCA1 – San Francisco, CA

                26. UCA2 – Redondo Beach, CA

                27. UCA3 – Los Angeles, CA

                28. UCA4 – Irvine, CA

                29. UCA5 – Los Angeles, CA

                30. UCA6 – San Diego, CA

                31. UCA8 – Berkeley, CA

                32. UCA9 – Sacramento, CA

                33. UIL1 – Chicago, IL

                34. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                    Fees Payable by Amazon

            Part I – Prime Now

             Distribution       Duration of           Fees for Services   Uniform and           Total (per
             Point              Planned Route         (per Planned        Vehicle Brand         Planned Route)
                                                      Route)              Promotion Fee
                                                                          (per Planned
                                                                          Route)
             UCA1               4.5 hours             $102.00             $5.00                 $107.00
                                6.5 hours             $155.50             $5.00                 $160.50
                                8.5 hours             $209.00             $5.00                 $214.00
                                10.5 hours            $262.50             $5.00                 $267.50
             UCA2, UCA3,        4.5 hours             $86.04              $5.00                 $91.04
             and UCA5           6.5 hours             $131.56             $5.00                 $136.56
                                8.5 hours             $177.08             $5.00                 $182.08
                                10.5 hours            $222.60             $5.00                 $227.60
             UCA4, UCA6,        2 hours               $43.70              $5.00                 $48.70
             and UCA9           4 hours               $92.40              $5.00                 $97.40
                                6 hours               $141.10             $5.00                 $146.10
                                8 hours               $189.80             $5.00                 $194.80
                                9 hours               $214.15             $5.00                 $219.15
                                10 hours              $238.50             $5.00                 $243.50
             UCA8               4.5 hours             $97.60              $5.00                 $102.60
                                6.5 hours             $148.90             $5.00                 $153.90
                                8.5 hours             $200.20             $5.00                 $205.20
                                10.5 hours            $251.50             $5.00                 $256.50
             UIL1               4.5 hours             $88.56              $5.00                 $93.56
                                5.5 hours             $111.95             $5.00                 $116.95
                                6.5 hours             $135.34             $5.00                 $140.34
                                8.5 hours             $182.12             $5.00                 $187.12
                                9.5 hours             $205.51             $5.00                 $210.51
                                10.5 hours            $228.90             $5.00                 $233.90
             UNV1               4.5 hours             $73.00              $5.00                 $78.00
                                6.5 hours             $112.00             $5.00                 $117.00
                                8.5 hours             $151.00             $5.00                 $156.00
                                10.5 hours            $190.00             $5.00                 $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                              Uniform and          Dispatcher Fee
                            Duration/Type   Base Route        Vehicle Brand        (per calendar
             Distribution
                            of Planned      Rate (per         Promotion Fee        week per          Fuel Allowance
             Point
                            Route           Planned Route)    (per Planned         Distribution
                                                              Route)               Point)
                            5.5 hours               $198.36                $5.00
                            6.5 hours               $206.70               $5.00
                            7.5 hours               $219.78               $5.00
                            8.5 hours               $241.98               $5.00
             DAU1           9.5 hours               $263.84               $5.00          $1,800.00   See below.
                            10.5 hours              $312.48               $5.00
                            Same Day
                            Planned Route           $198.36               $5.00
                            (6.5 hours)
                            5.5 hours               $214.70               $5.00
                            6.5 hours               $237.30               $5.00
                            7.5 hours               $259.90               $5.00
                            8.5 hours               $282.50               $5.00
                DCH1        9.5 hours               $306.23               $5.00       $1,800.00         See below.
                            10.5 hours              $332.22               $5.00

                            Same Day
                            Planned Route           $222.60               $5.00
                            (6.5 hours)

                            5.5 hours               $212.80               $5.00
                            6.5 hours               $235.20               $5.00
                            7.5 hours               $257.60               $5.00
                            8.5 hours               $280.00               $5.00
              DCH2, and
                            9.5 hours               $303.52               $5.00       $1,800.00         See below.
               DCH3
                            10.5 hours              $329.28               $5.00
                            Same Day
                            Planned Route           $291.76               $5.00
                            (6.5 hours)
                            5.5 hours               $182.78               $5.00
                            6.5 hours               $206.08               $5.00
               DDA1,        7.5 hours               $217.84               $5.00
              DDA2, and     8.5 hours               $246.40               $5.00       $1,800.00         See below.
               DDA3
                            9.5 hours               $273.28               $5.00

                            10.5 hours              $281.23               $5.00




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                           Same Day
                           Planned Route            $182.78        $5.00
                           (5.5 hours)
                           5.5 hours                $190.34        $5.00
                           6.5 hours                $205.40        $5.00
                           7.5 hours                $220.46        $5.00
                           8.5 hours                $247.57        $5.00
                           9.5 hours                $271.67        $5.00
                           10.5 hours               $295.77        $5.00
             DLA1,
             DLA2,
                                            Your Vehicle:                   $1,800.00   See below.
             DLA3,
             DLA4                           $205.4

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $205.40
                           5.5 hours                $194.37        $5.00
                           6.5 hours                $209.73        $5.00
                           7.5 hours                $225.09        $5.00
                           8.5 hours                $252.75        $5.00
                           9.5 hours                $277.33        $5.00
                           10.5 hours               $301.91        $5.00

             DLA8                           Your Vehicle:                   $1,800.00   See below.
                                            $194.36

                           Same Day
                           Planned Route    Delivery               $5.00
                           (6 hours)        Associate
                                            Personal
                                            Vehicle:
                                            $194.36
                           5.5 hours                $190.63        $5.00
                           6.5 hours                $205.70        $5.00
                           7.5 hours                $220.76        $5.00
                           8.5 hours                $247.88        $5.00
                           9.5 hours                $271.99        $5.00
             DLA9          10.5 hours               $296.10        $5.00    $1,800.00   See below.


                           Same Day         Your Vehicle:
                           Planned Route    $210.95                $5.00
                           (6 hours)




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                                            Delivery
                                            Associate
                                            Personal
                                            Vehicle:
                                            $210.95
                           5.5 hours                $206.25                 $5.00
                           6.5 hours                $222.50                 $5.00
                           7.5 hours                $238.75                 $5.00
                           8.5 hours                $268.00                 $5.00
                DSF4       9.5 hours                $294.00                 $5.00      $1,800.00         See below.
                           10.5 hours               $325.00                 $5.00

                           Same Day
                           Planned Route            $210.00                 $5.00
                           (5.5 hours)

                           5.5 hours                $233.96                 $5.00
                           6.5 hours                $252.40                 $5.00
                           7.5 hours                $270.83                 $5.00
                           8.5 hours                $304.01                 $5.00
                DSF5       9.5 hours                $333.51                 $5.00      $1,800.00         See below.
                           10.5 hours               $363.00                 $5.00

                           Same Day
                           Planned Route            $252.66                 $5.00
                           (5.5 hours)

                           5.5 hours                $183.75                 $5.00
                           6.5 hours                $206.25                 $5.00
                           7.5 hours                $219.07                 $5.00
                           8.5 hours                $236.53                 $5.00
                           9.5 hours                $257.73                 $5.00
                           10.5 hours               $282.81                 $5.00
                SAT5                                                                   $1,800.00         See below.
                           Helper (if
                                                    $135.32   N/A
                           applicable)

                           Same Day
                           Planned Route            $183.75                 $5.00
                           (5.5 hours)


            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to



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                calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
                will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
                EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be    found    at
                http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
                average planned miles (based on Amazon’s route planning technology) for all Planned Routes
                originating from the applicable Distribution Point during the prior calendar month, provided that if
                there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
                be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
                for all Planned Routes originating from the applicable Distribution Point during the current calendar
                month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1 and DSD2, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i) $28.00 per
               hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training
               Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
               DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1 and DSD2, (e) $210.64 per Training
               Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training Route at
               DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                             Attachment 1 to Part II of Schedule C

                                           Index Price
                                                                          Fuel Allowance
                                       (Dollars per Gallon)
                                     From                To              Dollars per Mile
                                     $1.20              $1.32                 $0.11
                                     $1.33              $1.45                 $0.12
                                     $1.46              $1.58                 $0.13
                                     $1.59              $1.71                 $0.14
                                     $1.72              $1.84                 $0.15
                                     $1.85              $1.97                 $0.16
                                     $1.98              $2.10                 $0.17
                                     $2.11              $2.23                 $0.18
                                     $2.24              $2.36                 $0.19
                                     $2.37              $2.49                 $0.20
                                     $2.50              $2.62                 $0.21
                                     $2.63              $2.75                 $0.22
                                     $2.76              $2.88                 $0.23
                                     $2.89              $3.01                 $0.24
                                     $3.02              $3.14                 $0.25
                                     $3.15              $3.27                 $0.26
                                     $3.28              $3.40                 $0.27
                                     $3.41              $3.53                 $0.28
                                     $3.54              $3.66                 $0.29
                                     $3.67              $3.79                 $0.30
                                     $3.80              $3.92                 $0.31
                                     $3.93              $4.05                 $0.32
                                     $4.06              $4.18                 $0.33
                                     $4.19              $4.31                 $0.34
                                     $4.32              $4.44                 $0.35
                                     $4.45              $4.57                 $0.36
                                     $4.58              $4.70                 $0.37
                                     $4.71              $4.83                 $0.38
                                     $4.84              $4.96                 $0.39
                                     $4.97              $5.09                 $0.40
                                     $5.10              $5.22                 $0.41
                                     $5.23              $5.35                 $0.42
                                     $5.36              $5.48                 $0.43
                                     $5.49              $5.61                 $0.44
                                     $5.62              $5.74                 $0.45
                                     $5.75              $5.87                 $0.46
                                     $5.88              $6.00                 $0.47




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                          EXHIBIT 20

                            Exhibit 20 - page 156
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                                                    Eighteenth Amendment
                                                         to Work Order
                                          under the Delivery Provider Terms of Service

                     This Eighteenth Amendment to Work Order (this “Eighteenth Amendment”) is effective as of April
            30, 2017, and amends that certain Work Order, dated as of September 2, 2015, as amended by the First
            Amendment to Work Order, dated as of September 30, 2015, the Second Amendment to Work Order, dated
            as of October 19, 2015, the Third Amendment to Work Order, dated as of October 19, 2015, the Fourth
            Amendment to Work Order, dated as of January 17, 2016, the Fifth Amendment to Work Order, dated as
            of February 14, 2016, the Sixth Amendment to Work Order, dated as of February 19, 2016, the Seventh
            Amendment to Work Order, dated as of April 10, 2016, the Eighth Amendment to Work Order, dated as of
            April 22, 2016, the Ninth Amendment to Work Order, dated as of May 11, 2016, the Tenth Amendment to
            Work Order, dated as of June 2, 2016, the Eleventh Amendment to Work Order, dated as of July 26, 2016,
            the Twelfth Amendment to Work Order, dated as of August 14, 2016, the Thirteenth Amendment to Work
            Order, dated as of August 28, 2016, the Fourteenth Amendment to Work Order, dated as of September 18,
            2016, the Fifteenth Amendment to Work Order, dated as of September 18, 2016, the Sixteenth Amendment
            to Work Order, dated as of January 1, 2017, and the Seventeenth Amendment to Work Order, dated as of
            April 9, 2017 (the “Work Order”), by and between Scoobeez, Inc., a California corporation (“you”) and
            Amazon Logistics, Inc., a Delaware corporation (“Amazon”). All capitalized terms used and not defined
            in this Eighteenth Amendment have the respective meanings assigned to such terms in the Delivery Provider
            Terms of Service to which you agreed on the Delivery Provider Platform (as the same may be amended,
            modified, or supplemented from time to time, the “Terms”).


                    1.      Amendment to Schedule B. Schedule B to the Work Order is hereby deleted in its entirety
            and replaced with Schedule B attached hereto.

                    2.      Amendment to Schedule C. Schedule C to the Work Order is hereby deleted in its entirety
            and replaced with Schedule C attached hereto.

                     3.      No Other Amendments; Conflicts. Except as expressly amended hereby, the Work Order
            remains in full force and effect in accordance with its terms. In the event of any conflict between the terms
            of this Eighteenth Amendment and the terms of the Work Order, the terms of this Eighteenth Amendment
            will control.

                                                       [Signature Page Follows]




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                             IN WITNESS WHEREOF, properly authorized representatives of the undersigned have
            executed this Eighteenth Amendment.

               Amazon Logistics, Inc.                                 Scoobeez, Inc.


               By:                                                    By:
               Name: Penny Register-Shaw                              Name: Shahan Ohanessian
               Title: Director Contractor Relations                   Title: CEO
               Date Signed: May 5, 2017
                            ____________________________              Date Signed: May 2, 2017
                                                                                   ____________________________




                                        [Signature Page to Eighteenth Amendment to Work Order]


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                                                             Schedule B

                                                         Distribution Points

                 1. DAU1 – Austin, TX

                 2. DCH1 – Alsip, IL

                 3. DCH2 – Chicago, IL

                 4. DCH3 – Lisle, IL

                 5. DDA1 – Farmers Branch, TX

                 6. DDA2 – Garland, TX

                 7. DDA3 – Ft. Worth, TX

                 8. DLA1 – Inglewood, CA

                 9. DLA2 – Buena Park, CA

                 10. DLA3 – Commerce, CA

                 11. DLA4 – Los Angeles, CA

                 12. DLA7 – Site location TBD

                 13. DLA8 – Hawthorne, CA

                 14. DLA9 – Irvine, CA

                 15. DMI1 – Miami, FL

                 16. DMI2 – Miami Gardens, FL

                 17. DMI3 – Miami, FL

                 18. DSD1 – San Diego, CA

                 19. DSD2 – Carlsbad, CA

                 20. DSD3 – San Diego, CA

                 21. DSF3 – San Jose, CA

                 22. DSF4 – San Leandro, CA

                 23. DSF5 – San Francisco, CA

                 24. DSF6 – Richmond, CA



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                 25. SAT5 – San Antonio, TX

                 26. UCA1 – San Francisco, CA

                 27. UCA2 – Redondo Beach, CA

                 28. UCA3 – Los Angeles, CA

                 29. UCA4 – Irvine, CA

                 30. UCA5 – Los Angeles, CA

                 31. UCA6 – San Diego, CA

                 32. UCA8 – Berkeley, CA

                 33. UCA9 – Sacramento, CA

                 34. UIL1 – Chicago, IL

                 35. UNV1 – Las Vegas, NV




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                                                             Schedule C

                                                      Fees Payable by Amazon

            Part I – Prime Now

              Distribution       Duration of            Fees for Services   Uniform and         Total (per
              Point              Planned Route          (per Planned        Vehicle Brand       Planned Route)
                                                        Route)              Promotion Fee
                                                                            (per Planned
                                                                            Route)
              UCA1               4.5 hours              $102.00             $5.00               $107.00
                                 6.5 hours              $155.50             $5.00               $160.50
                                 8.5 hours              $209.00             $5.00               $214.00
                                 10.5 hours             $262.50             $5.00               $267.50
              UCA2, UCA3,        4.5 hours              $86.04              $5.00               $91.04
              and UCA5           6.5 hours              $131.56             $5.00               $136.56
                                 8.5 hours              $177.08             $5.00               $182.08
                                 10.5 hours             $222.60             $5.00               $227.60
              UCA4, UCA6,        2 hours                $43.70              $5.00               $48.70
              and UCA9           4 hours                $92.40              $5.00               $97.40
                                 6 hours                $141.10             $5.00               $146.10
                                 8 hours                $189.80             $5.00               $194.80
                                 9 hours                $214.15             $5.00               $219.15
                                 10 hours               $238.50             $5.00               $243.50
              UCA8               4.5 hours              $97.60              $5.00               $102.60
                                 6.5 hours              $148.90             $5.00               $153.90
                                 8.5 hours              $200.20             $5.00               $205.20
                                 10.5 hours             $251.50             $5.00               $256.50
              UIL1               4.5 hours              $88.56              $5.00               $93.56
                                 5.5 hours              $111.95             $5.00               $116.95
                                 6.5 hours              $135.34             $5.00               $140.34
                                 8.5 hours              $182.12             $5.00               $187.12
                                 9.5 hours              $205.51             $5.00               $210.51
                                 10.5 hours             $228.90             $5.00               $233.90
              UNV1               4.5 hours              $73.00              $5.00               $78.00
                                 6.5 hours              $112.00             $5.00               $117.00
                                 8.5 hours              $151.00             $5.00               $156.00
                                 10.5 hours             $190.00             $5.00               $195.00


            At UCA8, in addition to the applicable Planned Route rate set forth in the table above, Amazon will pay
            you $5.00 per delivery for Amazon Fresh deliveries only, effective as of September 4, 2016.




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     Part II – Parcel


                                                                Uniform and          Dispatcher Fee
                             Duration/Type    Base Route        Vehicle Brand        (per calendar
              Distribution
                             of Planned       Rate (per         Promotion Fee        week per          Fuel Allowance
              Point
                             Route            Planned Route)    (per Planned         Distribution
                                                                Route)               Point)
                             5.5 hours                $198.36                $5.00
                             6.5 hours                $206.70               $5.00
                             7.5 hours                $219.78               $5.00
                             8.5 hours                $241.98               $5.00
              DAU1           9.5 hours                $263.84               $5.00          $1,800.00   See below.
                             10.5 hours               $312.48               $5.00
                             Same Day
                             Planned Route            $198.36               $5.00
                             (6.5 hours)
                             5.5 hours                $214.70               $5.00
                             6.5 hours                $237.30               $5.00
                             7.5 hours                $259.90               $5.00
                             8.5 hours                $282.50               $5.00
                 DCH1        9.5 hours                $306.23               $5.00       $1,800.00         See below.
                             10.5 hours               $332.22               $5.00

                             Same Day
                             Planned Route            $222.60               $5.00
                             (6.5 hours)

                             5.5 hours                $212.80               $5.00
                             6.5 hours                $235.20               $5.00
                             7.5 hours                $257.60               $5.00
                             8.5 hours                $280.00               $5.00
              DCH2, and
                             9.5 hours                $303.52               $5.00       $1,800.00         See below.
               DCH3
                             10.5 hours               $329.28               $5.00
                             Same Day
                             Planned Route            $291.76               $5.00
                             (6.5 hours)
                             5.5 hours                $182.78               $5.00
                             6.5 hours                $206.08               $5.00
               DDA1,         7.5 hours                $217.84               $5.00
              DDA2, and      8.5 hours                $246.40               $5.00       $1,800.00         See below.
               DDA3
                             9.5 hours                $273.28               $5.00

                             10.5 hours               $281.23               $5.00




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                            Same Day
                            Planned Route             $182.78        $5.00
                            (5.5 hours)
                            5.5 hours                 $190.34        $5.00
                            6.5 hours                 $205.40        $5.00
                            7.5 hours                 $220.46        $5.00
                            8.5 hours                 $247.57        $5.00
                            9.5 hours                 $271.67        $5.00
                            10.5 hours                $295.77        $5.00
              DLA1,
              DLA2,
                                              Your Vehicle:                   $1,800.00   See below.
              DLA3,
              DLA4                            $205.4

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $205.40
                            5.5 hours                 $194.37        $5.00
                            6.5 hours                 $209.73        $5.00
                            7.5 hours                 $225.09        $5.00
                            8.5 hours                 $252.75        $5.00
                            9.5 hours                 $277.33        $5.00
                            10.5 hours                $301.91        $5.00

              DLA8                            Your Vehicle:                   $1,800.00   See below.
                                              $194.36

                            Same Day
                            Planned Route     Delivery               $5.00
                            (6 hours)         Associate
                                              Personal
                                              Vehicle:
                                              $194.36
                            5.5 hours                 $190.63        $5.00
                            6.5 hours                 $205.70        $5.00
                            7.5 hours                 $220.76        $5.00
                            8.5 hours                 $247.88        $5.00
                            9.5 hours                 $271.99        $5.00
              DLA9          10.5 hours                $296.10        $5.00    $1,800.00   See below.


                            Same Day          Your Vehicle:
                            Planned Route     $210.95                $5.00
                            (6 hours)




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                                              Delivery
                                              Associate
                                              Personal
                                              Vehicle:
                                              $210.95
                            5.5 hours                 $188.99         $5.00
                            6.5 hours                 $201.99         $5.00
               DSD1,        7.5 hours                 $217.99         $5.00
              DSD2, and                                                       $1,800.00   See below.
               DSD3         8.5 hours                 $220.99         $5.00
                            9.5 hours                 $228.99         $5.00
                            10.5 hours                $279.99         $5.00
                            5.5 hours                 $206.25         $5.00
                            6.5 hours                 $222.50         $5.00
                            7.5 hours                 $238.75         $5.00
                            8.5 hours                 $268.00         $5.00
                 DSF4       9.5 hours                 $294.00         $5.00   $1,800.00   See below.
                            10.5 hours                $325.00         $5.00

                            Same Day
                            Planned Route             $210.00         $5.00
                            (5.5 hours)

                            5.5 hours                 $233.96         $5.00
                            6.5 hours                 $252.40         $5.00
                            7.5 hours                 $270.83         $5.00
                            8.5 hours                 $304.01         $5.00
                 DSF5       9.5 hours                 $333.51         $5.00   $1,800.00   See below.
                            10.5 hours                $363.00         $5.00

                            Same Day
                            Planned Route             $252.66         $5.00
                            (5.5 hours)

                            5.5 hours                 $183.75         $5.00
                            6.5 hours                 $206.25         $5.00
                            7.5 hours                 $219.07         $5.00
                            8.5 hours                 $236.53         $5.00
                            9.5 hours                 $257.73         $5.00
                            10.5 hours                $282.81         $5.00
                 SAT5                                                         $1,800.00   See below.
                            Helper (if
                                                      $135.32   N/A
                            applicable)

                            Same Day
                            Planned Route             $183.75         $5.00
                            (5.5 hours)




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            1. Base Route Rate. The Base Route Rates set forth above are the rates payable by Amazon for any
               Planned Route that is actually performed by you.

            2. Fuel Allowance. The Base Route Rates will be supplemented by the fuel allowance rate per mile
               corresponding to the Index Price (as defined below) set forth on Attachment 1 to this Part II of Schedule
               C (as applied, the “Fuel Allowance”) applicable on the date on which the Planned Route is performed.
               For the purposes of this paragraph 2, the applicable index price level (the “Index Price”) used to
               calculate the Fuel Allowance payable in respect of Services performed in any given calendar month
               will be based on the applicable regional PADD-EIA prices for the prior calendar month. The PADD-
               EIA      prices     used     to    calculate    the    Fuel     Allowance       can   be      found    at
               http://www.eia.gov/dnav/pet/pet_pri_gnd_a_epm0_pte_dpgal_m.htm. Mileage will be based on the
               average planned miles (based on Amazon’s route planning technology) for all Planned Routes
               originating from the applicable Distribution Point during the prior calendar month, provided that if
               there is insufficient data to calculate average planned miles for the prior calendar month, mileage will
               be based on an estimate of the average planned miles (based on Amazon’s route planning technology)
               for all Planned Routes originating from the applicable Distribution Point during the current calendar
               month.

            3. Dispatcher Fee. In connection with performing Services, it is anticipated that you will provide a
               dispatcher to assign Planned Routes to your delivery Personnel and to communicate with your delivery
               Personnel before, during, and after a Planned Route is completed. Amazon will pay you the Dispatcher
               Fee set forth above on a weekly basis for each calendar week during which you actually provide a
               dispatcher in connection with performing Services. If, for any given calendar week, the daily average
               number of Planned Routes that you perform from a specific Distribution Point is greater than 30
               Planned Routes, Amazon will pay you a second Dispatcher Fee for such week.

            4. Uniform and Vehicle Brand Promotion Fee. In consideration of accepting the Uniform and Vehicle
               Brand Promotion Fee, you agree that (a) all of your Personnel who are visiting customer premises or
               otherwise interacting with customers will wear a uniform that complies with the specifications set forth
               on Schedule D to this Work Order, which Amazon may change from time to time, and (b) all of your
               Vehicles will, while being used to provide Services under the Agreement, meet the vehicle branding
               specifications set forth on Schedule E to this Work Order, which Amazon may change from time to
               time. In exchange for your participation, Amazon agrees to provide the identifying logos, marks and
               insignia that comprise the uniform and vehicle branding specifications. You may elect to cease
               receiving the Uniform and Vehicle Brand Promotion Fee by giving Amazon 30 days’ prior written
               notice.

            5. Unplanned Time. Certain factors outside of your and your Personnel’s control may make it impractical
               to complete a 10.5-hour Planned Route in no more than 10.5 hours. Such factors may include the late
               arrival of a line haul to the Distribution Point and increased volumes on Planned Routes. In such
               circumstances, Amazon may, in its discretion, elect to pay you for this unplanned time exceeding 10.5
               hours at a rate equal to (a) $29.00 per hour at DDA1, DDA2, and DDA3, (b) $31.00 per hour at DCH1,
               DCH2, DCH3, and DSF6, (c) $27.60 per hour at DLA1, DLA2, DLA3, DLA4, and DLA7, (d) $28.70
               per hour at DLA8 and DLA9, (e) $28.50 per hour at DMI1, DMI2, and DMI3, (f) $27.80 per hour at
               DSD1, DSD2 and DSD3, (g) $32.00 per hour at DSF3, (h) $32.50 per hour at DSF4 and DSF5, (i)
               $28.00 per hour at SAT5, and (j) $30.00 per hour at DAU1.

            6. Training Routes. If, at the request of Amazon, one of your new delivery associates accompanies an
               experienced delivery associate on a Planned Route for training purposes (a “Training Route”), Amazon
               will pay you (a) $189.60 per Training Route at DDA1, DDA2, and DDA3, (b) $194.35 per Training



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                 Route at DLA1, DLA2, DLA3, DLA4, DLA7, DLA8, and DLA9, (c) $160.00 per Training Route at
                 DMI1, DMI2, and DMI3, (d) $179.01 per Training Route at DSD1, DSD2 and DSD3, (e) $210.64 per
                 Training Route at DSF3, (f) $214.67 per Training Route at DSF4 and DSF5, (g) $207.91 per Training
                 Route at DSF6, (h) $161.56 per Training Route at SAT5, and (i) $173.63 per Training Route at DAU1.




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                                               Attachment 1 to Part II of Schedule C

                                            Index Price
                                                                            Fuel Allowance
                                        (Dollars per Gallon)
                                      From                To               Dollars per Mile
                                      $1.20              $1.32                  $0.11
                                      $1.33              $1.45                  $0.12
                                      $1.46              $1.58                  $0.13
                                      $1.59              $1.71                  $0.14
                                      $1.72              $1.84                  $0.15
                                      $1.85              $1.97                  $0.16
                                      $1.98              $2.10                  $0.17
                                      $2.11              $2.23                  $0.18
                                      $2.24              $2.36                  $0.19
                                      $2.37              $2.49                  $0.20
                                      $2.50              $2.62                  $0.21
                                      $2.63              $2.75                  $0.22
                                      $2.76              $2.88                  $0.23
                                      $2.89              $3.01                  $0.24
                                      $3.02              $3.14                  $0.25
                                      $3.15              $3.27                  $0.26
                                      $3.28              $3.40                  $0.27
                                      $3.41              $3.53                  $0.28
                                      $3.54              $3.66                  $0.29
                                      $3.67              $3.79                  $0.30
                                      $3.80              $3.92                  $0.31
                                      $3.93              $4.05                  $0.32
                                      $4.06              $4.18                  $0.33
                                      $4.19              $4.31                  $0.34
                                      $4.32              $4.44                  $0.35
                                      $4.45              $4.57                  $0.36
                                      $4.58              $4.70                  $0.37
                                      $4.71              $4.83                  $0.38
                                      $4.84              $4.96                  $0.39
                                      $4.97              $5.09                  $0.40
                                      $5.10              $5.22                  $0.41
                                      $5.23              $5.35                  $0.42
                                      $5.36              $5.48                  $0.43
                                      $5.49              $5.61                  $0.44
                                      $5.62              $5.74                  $0.45
                                      $5.75              $5.87                  $0.46
                                      $5.88              $6.00                  $0.47




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                           1

                           2                                  CERTIFICATE       OF SERVICE FORM

                           3                                      FOR ELECTRONIC           FILINGS

                           4             I hereby certify that on October 1,2019, I electronically filed the foregoing document,

                           5   Amazon Logistics, Inc.'s Objection to Assumption           and Assignment of Delivery Provider

                           6   Terms of Service Work Order; and Declarations           of Vanessa Delany and Zane Brown in

                           7   Support Thereof, with the Clerk of the United States Bankruptcy Court, Central District of

                           8   California, Los Angeles Division, using the CM/ECF         system, which will send notification of such

                           9   filing to those parties registered to receive notice on this matter.

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                       11                                                      Renee Robles
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  BOCKIUSLLP
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    COSTA MFSA
                               DB2/37349286.5
